         Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 1 of 76




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GREENWICH TERMINALS LLC and                    : CIVIL ACTION
 GLOUCESTER TERMINALS LLC                       :
                                                :
                      v.                        : NO. 23-4283
                                                :
 UNITED STATES ARMY CORP OF                     :
 ENGINEERS, DISTRICT                            :
 COMMANDER FOR THE                              :
 PHILADELPHIA DISTRICT OF THE                   :
 ARMY CORPS OF ENGINEERS,                       :
 JEFFREY BEEMAN, and THE CHIEF                  :
 OF THE REGULATORY BRANCH                       :
 FOR THE PHILADELPHIA                           :
 DISTRICT OF THE ARMY CORP OF                   :
 ENGINEERS, TODD A. SCHAIBLE                    :


 THE PHILADELPHIA REGIONAL                      : CIVIL ACTION
 PORT AUTHORITY                                 :
                                                :
                      v.                        : NO. 24-1008
                                                :
 UNITED STATES ARMY CORPS OF                    :
 ENGINEERS, DISTRICT                            :
 COMMANDER FOR THE                              :
 PHILADELPHIA DISTRICT OF THE                   :
 ARMY CORPS OF ENGINEERS,                       :
 JEFFREY BEEMAN, CHIEF OF THE                   :
 REGULATORY BRANCH FOR THE                      :
 PHILADELPHIA DISTRICT OF THE                   :
 ARMY CORPS OF ENGINEERS,                       :
 TODD A. SCHAIBLE                               :


                                      MEMORANDUM

KEARNEY, J.                                                                      October 28, 2024

       Our community relies upon the national government and its federal agency experts to

carefully study applications which may affect large cargo ships safely passing through our

interstate rivers to deliver products from around the World to riverside ports for our eventual use.
         Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 2 of 76




Congress and those experts set standards to ensure exhaustive analysis of applications seeking to

alter the present waterways. The experts must consider a variety of factors including the public

interest of ensuring ships can safely pass on the river and the economic effects of changes to our

rivers. We do not second guess the experts’ technical expertise, but Congress requires we must

ensure the experts fulfill their crucial mission by studying all factors. And we ask experts to again

study applications if citizens with standing persuade us the experts did not meet the standards.

       Our case today involves applications affecting the Delaware River on the eastern boundary

of our District. Congress authorized the deepening of the Delaware River Main Channel over thirty

years ago. The Deepening Project involves initial and maintenance dredging of the Delaware River

Main Channel to a depth of forty-five feet. This important public work allows large cargo vessels

to navigate upriver to deliver products to previously inaccessible riverside ports from the Delaware

Bay to Philadelphia. The United States partnered with the Philadelphia Regional Port Authority to

fund the Deepening Project.

       This considered idea of deepening the Delaware River inspired Diamond State Port

Corporation, a corporate entity of the state of Delaware, to develop a new port along the Delaware

River at Edgemoor, Delaware—a few miles south of the Pennsylvania/Delaware border. Delaware

hopes this new port will generate hundreds of millions of dollars in economic benefit for her

citizens. All agree the Edgemoor site poses logistical and size challenges. The site is located at a

tight turn where the Delaware River Main Channel comes close to the shoreline. The anticipated

problem is the large vessels need enough deep water and room to turn around at the Edgemoor site

to deliver their cargo before heading back to the Atlantic Ocean. Diamond State proposed to

overcome this obstacle through a planned combination of a forty-five-foot-deep berthing area




                                                 2
         Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 3 of 76




connecting the proposed port at Edgemoor to the Main Channel and using the Main Channel as a

turning basin for large vessels delivering products to the Edgemoor port.

       Congress requires Diamond State apply to the United States Army Corps of Engineers to

obtain the District Commander’s: (1) approval of a dredging and construction permit under section

404 of the Clean Water Act and section 10 of the Rivers and Harbors Act, and (2) authorization

for use of a federal project under section 408 of the Rivers and Harbors Act because of the proposed

location of the turning basin. We rely upon experts within the Corps to study applications and

recommend actions to its District Commander. The Corps studied the applications, sought public

comment, and recommended approval. Its District Commander issued the permit and the

authorization.

       Three upriver port entities sued asking us to evaluate the Corps’ scrutiny of Diamond

State’s applications. The Philadelphia Port Authority and two other upriver ports challenge the

Corps’ decision making process under the Administrative Procedure Act. Our scope of review is

narrow to avoid substituting our judgment for the Corps’ expertise. We consider whether the Corps

articulated a satisfactory explanation for its actions, including a rational connection between the

facts found and the recommendation to the District Commander. We study the quality of the Corps’

decision making process, not the wisdom of the decision.

       We find the Corps did not engage in reasoned decision making as to the section 404/10

permit because it failed to consider the impact of the turning basin and dredging activities on the

public interest in navigation and safety. We today vacate the section 404/10 permit in

accompanying Orders. We also find the Corps arbitrarily and capriciously departed from its own

procedures in recommending the 408 approval by not requiring Diamond State obtain a Statement




                                                 3
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 4 of 76




of No Objection from the Philadelphia Port Authority as the sole non-federal sponsor of the

Deepening Project. We vacate the section 408 authorization in the accompanying Orders.

I. Factual Background1

         We study approvals necessary to expand ports along the Delaware River, which stretches

from the Delaware Bay to Philadelphia and beyond in our District. Three states (Delaware, New

Jersey, and Pennsylvania) border this important waterway in or near our District. The Delaware

River connects ports in these states to World commerce. The Ports before us operate in and around

Philadelphia. They naturally compete for shipping business with other ports along the Delaware

River.




                                                                                               2




                                               4
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 5 of 76




         Ports on the Delaware River are of economic importance to the border states.

       The Commonwealth of Pennsylvania established the Philadelphia Port Authority in 1989

to manage and operate Philadelphia’s ports. The State of Delaware through its General Assembly

established Diamond State Port Corporation in 1995 to manage and operate the Port of

Wilmington.3 Greenwich Terminals LLC operates the Packer Avenue Marine Terminal in

Philadelphia, Pennsylvania.4 Gloucester Terminals LLC operates the Gloucester Marine Terminal

in Gloucester City, New Jersey and the Paulsboro Marine Terminal in Paulsboro, New Jersey.5

       Congress authorized the Delaware River Main Channel Deepening Project in 1992 with

the goal of deepening the Main Channel to forty-five feet.6 Congress, in directing the Corps to

develop the Delaware River Main Channel Deepening Project, intended to allow larger vessels to

travel north to ports in Camden, New Jersey and Philadelphia.7 The Philadelphia Port Authority

and the Corps’ Philadelphia District signed a Project Partnership Agreement for the Deepening

Project.8 The Philadelphia Port Authority became a non-federal sponsor of the Deepening Project

under this Agreement by agreeing to pay a percentage of the costs of construction and maintenance

including the construction of new dredged material disposal facilities.9

       The ports saw an increased need for deeper channels after the Panamanian government

completed the Panama Lock Expansion Project in 2017.10 After 2017, “New Panamax ships, or

ships that were too large to traverse the Panama Canal prior to expansion, are [now] able to more

efficiently reach East and Gulf Coast Ports.”11 Diamond State purchased property in Edgemoor,

Delaware in 2016 “[t]o capitalize on the economic benefits of the” Delaware River Deepening

Project, “with the intent of re-developing the property into a multi-user containerized cargo port

capable of accepting New Panamax cargo ships.”12 The State of Delaware signed a 50-year




                                                 5
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 6 of 76




concession agreement in 2018 committing “to invest approximately $400 million to construct the

Edgemoor facility.”13

Diamond State seeks a permit under section 10 of the Rivers and Harbors Act and section 404
  of the Clean Water Act from the Corps to dredge and construct a new port at Edgemoor.

         Diamond State applied to the Corps for a permit under section 10 of the Rivers and Harbors

Act of 1899 and section 404 of the Clean Water Act on March 10, 2020.14 The Corps, after

receiving an application, evaluates the application and then either recommends or does not

recommend the local Corps District Commander grant the permit or permission sought. Diamond

State sought to develop the “new containerized cargo port” at its purchased Edgemoor site.15

Diamond State wanted to create a new, forty-five-foot deep access channel between the existing

federal Delaware River Navigation Channel and the Edgemoor port.16 The proposed access

channel would terminate in a new ship berthing area. Diamond State would also construct a 2,600-

foot, pile-supported wharf and retaining wall.17 Diamond State intended to store dredged material

in the Corps’ Wilmington Harbor South confined dredge facility.18 Diamond State predicted it

would need to dredge a total of 3,325,000 cubic yards of material.19 Access to this new harbor

required “the construction of a 1,700-foot diameter turning basin on the downstream portion” of

the Edgemoor Project.20 Diamond State swore its turning basin would be “inclusive of the

Delaware River main shipping channel” because there is not enough space between the proposed

port and the main shipping channel for the needed turning basin to be situated anywhere else as

shown:




                                                 6
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 7 of 76
         Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 8 of 76




constituted a “preliminary” evaluation and the Institute clarified “[b]erthing procedures, tug power

required, and emergency procedures will be developed in future simulation studies.”29

       Diamond State projected the Edgemoor Port would increase traffic to Wilmington area

ports by 55% and net $383 million a year to Delaware’s economy.30 “The benefits of the increased

jobs, wages, and taxes [we]re expected to directly improve unemployment and reduce poverty in

the City of Wilmington” and add approximately 2,260 new jobs.31

       Diamond State included limited information on maintenance dredging in its application

and supporting materials for the Corps.32 But “[i]n order to reduce the volume of maintenance

dredging associated with th[e] project and to maintain the functionality of the berths,” Diamond

State proposed “to install a sedimentation reduction device along the face of the wharf consisting

of a series of sediment fans[.]”33 Diamond State swore “[t]he disposal of the dredged materials

from the construction represent[ed] a volume that is larger than typoial [sic] maintenance dredging

volumes in the region.”34 Diamond State acknowledged “[t]here may be temporary impacts to

commercial shipping during dredging, mobilization and project construction.”35

                  Diamond State seeks authorization under section 408 of the
               Rivers and Harbors Act from the Corps for the Edgemoor Project.

       Diamond State wrote to the Corps on April 3, 2020 referring the Corps to the materials

submitted in support of its section 404/10 permit application and stated “[f]ollowing an initial

discussion with the regulatoary [sic] program, we undersand [sic] that the construction of the

project subject to a Sectoin [sic] 408 review due to its proximity to a federal navigation project

(the Delaware River Main Channel Philadelphia to Sea Project ) and its anticpated [sic] use of a

Federal Dredged Material Dispoal [sic] Area (Wilmingon [sic] Harbor South Disposal Area).”36

The Corps began a section 408 review in response to Diamond State’s section 408 application.




                                                 8
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 9 of 76




              The Corps issues a public notice seeking comment on Diamond State’s
                           section 404/10 and section 408 applications.

       The Corps issued a public notice on July 24, 2020 and then revised and reissued the notice

on July 30, 2020 seeking public comment on the proposed Edgemoor Project under section 404/10

and section 408.37 The Corps in its notice described Diamond State as seeking “authorization from

the U.S. Army Corps of Engineers under the authorities of Section 404 of the Clean Water Act and

Section 10 of the Rivers and Harbors Act to discharge fill material and to conduct dredging and

disposal activities within, and adjacent to, navigable waters of the United States at the proposed

Port of Wilmington Edgemoor Expansion project site.”38 The Corps included Diamond State’s

estimate the Edgemoor Project required 3,325,000 cubic yards of material in initial dredging and

500,000 cubic yards of material in annual dredging.39 The Corps included Diamond State’s plans

to use sedimentation fans along the new port face to reduce the amount of required maintenance

dredging.40

       The Corps explained Diamond State also sought, under section 408, “permission to have a

section of their proposed ship turning basin to fall within the boundaries of the Main Navigation

Channel of the Delaware River, Philadelphia to Sea Federal Navigation Project.”41 The Corps

stated it would review Diamond State’s proposed use of the Corps’ dredge disposal facilities under

“Section 217(b) of the Water Resources Development Act of 1986” and added, “[t]he anticipated

217(b) request is not a subject of this public notice.”42 The Corps issued a September 1, 2020

Notice to extend the comment period an additional thirty days and to clarify the turning basin

required using the Main Navigation Channel of the Delaware River.43 The turning basin

clarification included the diagram shown above for the public’s consideration.44




                                                9
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 10 of 76




        Submitted concerns about navigation, maintenance dredging plans, and safety.

       The Philadelphia Port Authority submitted comments on September 17, 2020.45 It

requested public hearings be held in New Jersey, Pennsylvania, and Delaware. 46 It wanted to

publicly address (1) Diamond State’s application hinged on Corps’ approvals for dredged material

disposal and maintenance but Diamond State had not yet applied for these approvals and the notice

did not contain enough information for the public to understand the plan47; (2) the Edgemoor

Project should not be approved until the impacts on the Delaware River Main Navigation Channel

maintenance had been adequately assessed, including the impacts of the proposed sedimentation

fans48; (3) the public notice and Diamond State’s application did not address the public interest

factors and this information should be made available for public comment49; (4) the discharge of

fill material to build a wharf required compensatory mitigation, and the notice’s suggestion it did

not fulfill compensatory mitigation requirements contravened Corps policy50; (5) the Corps should

require Diamond State to identify disposal sites for initial dredging and at least twenty years of

maintenance dredging51; and (6) the Corps’ notice did not contain information allowing

meaningful public input on the proposed turning basin.52 The Philadelphia Port Authority also

highlighted its status as a non-Federal sponsor of the Delaware River Deepening Project entitling

it “to a detailed delineation of how [Diamond State] intends to conduct its dredging in a manner

that is completely protective of the maintenance of the Main Navigation Channel, contributes no

dredge material to the annual burden associated with that Project, and protects the benefits off [sic]

its contract with the federal government” and explained “[u]nder the Project Partnership

Agreement, [the Philadelphia Port Authority] has agreed to contribute 35 percent of the costs of

construction (among other costs)[.]”53

       South Jersey Port Corporation submitted comments twelve days later addressing impacts

to navigation on the Delaware River, “especially the request to use the main navigation channel as
                                                 10
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 11 of 76




a cargo ship turning basin.”54 South Jersey Port Corporation pointed out the navigation feasibility

study “did not assess whether there would be delays or impacts to ships in the main navigation

channel as a result of the turning basin. A large cargo ship turning in the main channel creates an

obvious risk of a collision and will inevitably cause delays as ships slow down or stop altogether

to accommodate the turning ship, thereby negatively harming port operators up and down the

River.”55 South Jersey Port Corporation emphasized the Corps’ failure to consult with the Coast

Guard to assess the impact the proposed sedimentation fans and turning basin would have on ship

traffic and safety on the Delaware River.56

       The Pennsylvania Attorney General submitted comments a couple days later explaining

the application did not contain information about all activities Diamond State Port Corporation

planned to undertake; did not contain adequate information about the dredged material disposal

plan; did not meet the requirements applied to the Delaware River Deepening Project required

under 33 C.F.R. section 322.5; and did not explain where the dredged materials will go if the

federal dredging facilities have no capacity.57

       The Greenwich and Gloucester Ports submitted comments the same day as the Attorney

General addressing Diamond State’s plan for the proposed turning basin occupying the entire

Delaware River Main Channel during use58; the failure of the Institute’s Feasibility Study to

simulate ships using the turning basin and the effect on navigation in the Main Channel59; whether

Diamond State intended to implement the Institute’s suggestion in its Feasibility Study that

navigation into and out of Edgemoor only be attempted in certain tide and wind conditions60; and

noted the application did not contain information about emergency situations.61

       Greenwich and Gloucester included a memorandum authored by Craig Jones, Ph.D,

addressing how sedimentation fans could impact navigation.62 They also provided a report by



                                                  11
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 12 of 76




Captain Jerzy J. Kichner, a retired United States Coast Guard Captain, detailing specific concerns

with the Institute’s Feasibility Study and the uncertain impacts of using the Delaware River Main

Channel as a turning basin.63 Captain Kichner highlighted the coordination and machinery needed

to turn a ship with tugboats and the care captains must take to ensure the ship does not run

aground.64 He highlighted international authorities on navigation including the Permanent

International Association of Navigation Congresses, the International Association of Ports and

Harbors, the International Maritime Pilots Association, and the International Association of

Lighthouse Authorities, issued 2014 public harbor approach guidelines recommending no turning

basin intrude on a deep draft channel.65 Captain Kichner expressed concern the Institute’s

Feasibility Study did not account for the size of various vessels using the Delaware River Main

Channel as they pass Edgemoor and did not conduct a simulation assessing the impact of a turning

basin across the entirety of the Main Channel.66 Captain Kichner explained some large vessels,

such as car carriers and large container ships, are impacted by winds and must maintain sufficient

speed to maintain vessel maneuverability. He stated “large vessels constrained to the confines of

the channel . . . cannot slow down without potentially impacting their own navigational safety

under certain weather conditions.”67 He further highlighted the study only focused on days of clear

visibility and average tide.68

                          The Corps issues a supplemental public notice.

       The Corps issued a supplemental public notice over thirteen months later detailing changes

to the Edgemoor Project proposal and seeking input on the newly-added compensatory mitigation

plan.69 The Corps informed the public “[t]he sedimentation fans have been removed from the

proposed project to minimize the impacts to aquatic resources and plans for an on-site confined

disposal facility . . . in uplands have been added to the project.”70 The Corps again highlighted



                                                12
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 13 of 76




Diamond State “requested Corps of Engineers [sic] permission under Section 14 of the Rivers and

Harbors Act of 1899 (33 U.S.C. 408; hereinafter Section 408) to utilize a portion of the Main

Navigation Channel of the Delaware River, Philadelphia to Sea Federal Navigation Project as their

ship turning basin.”71

       The Corps did not include information in the notice regarding the impact of removing the

sedimentation fans on the volume of required annual maintenance dredging and commenters noted

the removal of these fans would increase the required yearly maintenance dredging volume in the

supplemental comment period.72 Commenters also noted the Corps should apply scrutiny to the

lack of details provided regarding Diamond State’s proposed maintenance dredging activities

because Diamond State expressed an intent to seek federal funding for the maintenance dredging

under section 204(f).73 Commenters further addressed the scale of the annual maintenance

dredging project would require exclusive use of the areas being dredged plus a safety radius but

the Institute’s Feasibility Study failed to look at the impact of maintenance dredging operations on

traffic in the Delaware River Main Channel.74

      The Corps’ Philadelphia District recommends approval of the section 408 request.

       The Corps reviewed Diamond State’s section 408 request under its published Policy and

Procedural Guidance.75 The Corps explained (1) the Edgemoor Project’s close proximity to the

Main Channel warranted the Corps’ review to assess “possible increased [operation and

maintenance] costs due to the increased sedimentation rates caused by construction and subsequent

operation of the [Edgemoor] Project;” and “(2) possible impacts to navigation caused by use of a

portion of the [Delaware River] Federal Navigation Channel as a ship turning basin.”76

       The Corps recommended the District Commander approve Diamond State’s section 408

request on June 23, 2022.77 The Corps explained it was “required” to determine whether a Safety

Assurance Review was warranted “by EC 1165-2-220.” The Corps “determined that a Safety
                                                13
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 14 of 76




Assurance Review was not required because the Proposed Project, as presented in this Section 408

Request, does not physically alter the Philadelphia to the Sea Project.”78

       The Corps further explained, based on the Agency Technical Review, it deemed impacts

to future operations and maintenance of the Delaware River Main Channel Deepening Project

negligible because Diamond State “provided a thorough Hydrodynamic Model that was reviewed

by [Corps] Subject Matter Experts, who determined that the conclusions presented in the model

were scientifically sound and that increased sedimentation within the boundaries of the

Philadelphia to the Sea Project would not occur . . . [and] increased [operation and maintenance]

costs are not a concern,;]” therefore, “the Proposed Project is not injurious to the public interest

and does not impair the usefulness of the Philadelphia to the Sea Project.”79 The Corps

“determined, in coordination with the Marine Advisory Committee/Delaware River Pilot’s

Association, that the construction of the Proposed Project will not negatively impact navigation

along the [Delaware River] Federal Navigation Channel.”80 The Corps found “considering

potential impacts of the Turning Basin on navigation is outside the scope of the Section 408

review” because other ports “have turning basins within Federally authorized navigation channels”

and the “USACE-Philadelphia District is not responsible for operating/coordinating marine traffic

within the Federal Navigation Channel on the Delaware River.”81

       The Corps concluded, under the heading “Non-Federal Sponsor,” “[t]he Delaware River,

Philadelphia to the Sea River Federal Navigation Project is maintained at 100% Federal

expense.”82 The Corps did not mention a Statement of No Objection from the Philadelphia Port

Authority or an attempt to secure one.




                                                14
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 15 of 76




                              The Corps answers public comments
                      and recommends issuance of the section 404/10 permit.

          The Corps waited approximately seven weeks after issuing its section 408 recommendation

before recommending the District Commander approve the section 404/10 permit on August 4,

2022 in its section 404/10 Decision Document.83 The Corps anticipated 3,325,000 cubic yards of

initial dredging consistent with Diamond State’s first application.84 The Corps departed from the

originally envisioned 500,000 cubic yards in annual maintenance dredging with sedimentation

fans. The Corps predicted “the access channel and berth site would require annual maintenance

dredging to remove approximately 275,000 cubic yards of accumulated sediment. Annual

maintenance dredging totals include 155,000 cubic yards for dredging of the access channel and

120,000 cubic yards for dredging the berthing area.”85 The Corps did not explain how the removal

of the sedimentation fans from the project plan did not increase the anticipated maintenance

dredging, and instead decreased the proposed figure. The Corps detailed plans to store dredged

material in Corps-owned disposal facilities, Wilmington Harbor North and Wilmington Harbor

South. The Corps noted a hydraulic pipeline would transport dredged material to the disposal

area.86

          The Corps stated “a public meeting/hearing was requested but was not held. The public

hearing was not held because the Corps determined issues raised in the request for a public hearing

were insubstantial and could be addressed without a public hearing.”87 The Corps did not explain

what those issues were, why they were insubstantial, or how the Corps addressed them. The Corps

advised Diamond State identified “Wilmington Harbor South and Wilmington Harbor North[,] to

use for placement of dredged material from initial construction.”88 Diamond State’s representative

completed a study to determine if Wilmington Harbor South would have sufficient capacity for

dredging material because Wilmington Harbor North had limited capacity.89 The Corps then


                                                15
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 16 of 76




explained “[t]here is sufficient capacity in the Wilmington Harbor North CDF to accommodate the

material from yearly maintenance dredging of the private berth area[,]” but did not specify for how

many years the harbor could accommodate this material.90 The Corps noted Diamond State

intended “to request Federal assumption of maintenance of the access channel under Section 204(f)

of the Water Resources Development Act” and if the Corps granted Diamond State’s request, “the

[Confined Disposal Facilities] utilized for the maintenance dredging of the access channel would

likely be at the Pedricktown Complex of [Confined Disposal Facilities], but w[ould] be the

responsibility of the Corps and may be modified.”91

       The Corps included information pertinent to some public interest factors defined by the

Code of Federal Regulations.92 The Corps through these public interest factors assesses the impacts

of the proposed activity and its intended use on the public interest. 93 The Corps marked the

economics of the Project as “beneficial,” navigation as “neutral (mitigated),” and safety as “not

applicable.”94 The Corps did not assess safety in its Decision Document beyond marking it not

applicable.

       In its economic consideration, the Corps stated “[e]conomic development opportunities are

enhanced through the construction of a -45-ft. berth and access channel as a result of the ability to

attract larger container vessels” and container ports with berths less than forty-five feet will not be

competitive in the mid-Atlantic region in the future.95

       As to navigational impacts, the Corps remarked “[a]lthough the tuning [sic] basin for the

proposed port is located in the federal navigation channel, navigation in the Delaware River will

not be impacted by the proposed project. Please refer to section 9.8 Effects on Corps Civil Works

Projects[.]”96 The Corps explained in section 9.8 “[o]n 22 June 2022, the Corps granted Section

408 Permission” because the Corps concluded the Edgemoor Project “will not adversely affect the



                                                  16
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 17 of 76
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 18 of 76
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 19 of 76
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 20 of 76
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 21 of 76
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 22 of 76
         Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 23 of 76




further explained “[t]he North Atlantic Division of the [Corps] has completed its review of your

request pursuant to . . . 33 U.S.C. 408 (Section 408). This evaluation was performed in accordance

with Engineer Circular (EC) 1165-2-220.”102 The District Commander granted Diamond State

“permission to construct a wharf and bulkhead; and create a new berthing area and access channel

adjacent to the Delaware River Philadelphia to the Sea Federal Navigation Project; subject to

compliance with the enclosed Section 408 Permission Decision Letter[.]”103

                   The Ports sue challenging the permits and authorizations.

         Greenwich and Gloucester timely sued last November under the Administrative Procedure

Act challenging the Corps’ issuance of the section 404/10 permit and section 408 authorization.104

They claim the “Corps failed to adequately evaluate, study, consider, and mitigate the [Edgemoor]

Project’s negative impacts on navigation, safety, economics, and the Delaware Deepening

Project.”105 The Philadelphia Port Authority sued under the Administrative Procedure Act

approximately four months later joining Greenwich and Gloucester’s challenges to the Corps’

issuance of the section 404/10 permit and section 408 authorization.106 The Philadelphia Port

Authority sought to challenge the section 408 authorization on the additional ground the Corps did

not seek or obtain a Statement of No Objection from the Philadelphia Port Authority.107 We

consolidated these cases for summary judgment briefing on the section 404/10 permit and section

408 approval.108 The parties timely cross moved for summary judgment on the section 404/10

permit and section 408 authorization followed by extensive oral argument.109

   II.      We apply a modified summary judgment standard of review under the
            Administrative Procedure Act.

         The Ports seek judicial review of the District Commander’s approvals under the

Administrative Procedure Act. We begin with an overview of the unique standard of review.110




                                               23
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 24 of 76




       Congress through section 702 of the Administrative Procedure Act provides a “person

suffering legal wrong because of agency action, or adversely affected or aggrieved by agency

action within the meaning of a relevant statute, is entitled to judicial review thereof.”111 Summary

judgment is the proper mechanism for deciding whether an agency’s action is supported by the

administrative record.112 But the usual summary judgment standard does not apply in such cases

because we sit as an appellate tribunal.113

       Congress, under section 706 the Administrative Procedure Act, allows us to set aside

agency action if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.”114 Our scope of review is narrow to avoid substituting our judgment for the agency’s.115

An agency’s decision is lawful when it “articulate[s] a satisfactory explanation for its action[,]

including a rational connection between the facts found and the choice made.”116

       But we find agency decision making arbitrary and capricious where “the agency relied on

factors outside those Congress intended for consideration, completely failed to consider an

important aspect of the problem, or provided an explanation that is contrary to, or implausible in

light of, the evidence.”117 We must look at the reasons articulated by the agency itself at the time

of the decision rather than post-hoc rationalizations.118

       As a general rule we only reverse agency decisions where “the administrative body not

only has erred but has erred against objection made at the time appropriate under its practice.” 119

But “[a] party need not rehearse the identical argument made before the agency; it need only

confirm that the government had notice of the challenge during the public comment period and a

chance to consider in substance, if not in form, the same objection now raised in court.”120 And

our Court of Appeals finds petitioners have not waived an objection where an issue is “obvious”

or “otherwise brought to the agency’s attention.”121 The Corps’ determinations of its statutory



                                                 24
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 25 of 76




authority and the Corps’ interpretation of the applicable statutes are not waivable issues. 122 We

decide all questions of law.123

   III.      Analysis

          The Ports’ claims require we decide whether the Corps’ decision making leading to the

District Commander’s August 4, 2022 issuance of the 404/10 permit and 408 approval was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” under the

Administrative Procedure Act.124 Our review is deferential as the Corps has expertise and

experience in administering Congress’ mandates and its internal policies. But we must ensure

agencies engaged in “reasoned decisionmaking.”125

          The Corps did not engage in reasoned decision making on material concerns raised by

commenters. We find the Ports enjoy standing to challenge the Corps’ decision making. We find

Congress required the Corps assess the impact of the turning basin under both its section 404/10

review and its section 408 review.

          We further find the Corps arbitrarily and capriciously recommended the District

Commander issue the section 404/10 permit because the Corps “failed to consider an important

aspect of a problem” in: (1) dismissing navigation concerns raised by commenters and relying on

traffic data submitted by Diamond State and conclusions drawn from the data without any attempt

at independent verification; and, (2) finding safety concerns “not applicable” to the Edgemoor

Project despite safety concerns raised by commenters.126 But we also find the Corps engaged in

reasoned consideration of economic impact and the Corps did not need to assess impacts on

regional competition. We today vacate the 404/10 permit and expect the Corps will reevaluate the

Project consistent with this opinion.




                                               25
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 26 of 76




       We find the Corps arbitrarily and capriciously issued the section 408 decision because the

Corps departed from its standard procedure of obtaining a Statement of No Objection from non-

federal sponsors of the federal project the applicant seeks to modify before beginning its review.

The Corps did not justify the troubling departure in the record and we are not satisfied it departed

with good reason. We do not reach whether the District Engineer appropriately exercised

discretion by not conducting a formal Safety Assurance Review under Corps’ guidance because

we find the omitted Statement of No Objection dispositive. We vacate the section 408

authorization as the Corps could not begin its review without first ensuring Diamond State had

sought a Statement of No Objection from the Philadelphia Port Authority.

       A. The Clean Water Act and Rivers and Harbors Act define the parties’ obligations.

       We analyze the Corps’ actions taken under a congressional grant of authority to it in the

Clean Water Act and the Rivers and Harbors Act.

               1. We consider the preservation of the nation’s navigable waterways and the
                  public interest in reviewing the section 404/10 permit.

       The Corps considers both the statute under which the permit is requested and the public

interest. The statutes under which the permit at issue here is sought are section 404 of the Clean

Water Act and section 10 of the Rivers and Harbors Act.

       Congress prohibits the discharge of dredged material into the waters of the United States

through the Clean Water Act.127 Congress authorized the Corps in section 404 of the Clean Water

Act to issue permits for the discharge of dredged or fill material when certain conditions are met.128

The Corps promulgated regulations for issuing permits under section 404.129

       Congress re-enacted a series of laws in 1973 designed to preserve and protect the nation’s

waterways in a package now known as the Rivers and Harbors Act.130 Congress in section 10 of




                                                 26
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 27 of 76




the Act bars obstructions to the navigable capacity of the nation’s waterways. 131 The Corps

promulgated regulations for issuing permits under section 10.132

        The Corps acts under an established procedure: after receiving a complete section 404/10

permit application, it issues a public notice providing “sufficient information to give a clear

understanding of the nature and magnitude of the activity to generate meaningful comment,”

including “information which may assist interested parties in evaluating the likely impact of the

proposed activity . . . on factors affecting the public interest.”133

        The Corps requires this “public interest review” with public comment for all permit

applications under its regulations.134 Under this review, “the decision whether to issue a permit

will be based on an evaluation of the probable impacts, including cumulative impacts, of the

proposed activity and its intended use on the public interest” and the Corps makes its decision

as a result of this balancing process.135 All relevant factors must be considered. “[A]mong those

are conservation, economics, aesthetics, general environmental concerns, wetlands, historic

properties, fish and wildlife values, flood hazards, floodplain values, land use, navigation, shore

erosion and accretion, recreation, water supply and conservation, water quality, energy needs,

safety, food and fiber production, mineral needs, considerations of property ownership and, in

general, the needs and welfare of the people.”136 The specific weight of each factor is determined

by its importance and relevance to the proposed project, “[h]owever, full consideration and

appropriate weight will be given to all comments[.]”137

                2. We are guided by the Corps’ published guidelines in reviewing its section
                   408 authorization.

        The section 408 authorization review process mirrors the section 404/10 permitting process

with a few exceptions.




                                                   27
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 28 of 76




        Congress in section 14 of the Rivers and Harbors Act—more commonly known as “Section

408”—prohibits “any person or persons to take possession of or make use of for any purpose, or

build upon, alter, deface, destroy, move, injure, obstruct by fastening vessels thereto or otherwise,

or in any manner whatever impair the usefulness of any . . . work built by the United States.”138

Congress authorizes the Corps to “grant permission for the alteration or permanent occupation or

use of any of the aforementioned public works when in the judgment of the Secretary [of the Army]

such occupation or use will not be injurious to the public interest and will not impair the usefulness

of such work.”139

        The Corps has not promulgated regulations under its section 408 authority. As such, an

internal guidance document titled POLICY AND PROCEDURAL GUIDANCE FOR PROCESSING

REQUESTS TO ALTER US ARMY CORPS OF ENGINEERS CIVIL WORKS PROJECTS PURSUANT TO 33

USC 408 guides the Corps’ review of a section 408 approval request.140 The Corps set the version

of the POLICY AND PROCEDURAL GUIDANCE cited to by the parties to expire in 2020, but the Corps

recently reaffirmed the guidance.141

        The Corps instructs in its POLICY AND PROCEDURAL GUIDANCE it should conduct a review

of the proposed modification of a federal work in a manner mirroring the process for section 404/10

permit applications, including the same consideration of the impact of a proposed project on the

public interest.142

        The Corps further instructs project applicants like Diamond State must seek a Statement of

No Objection from a non-federal sponsor of the project the applicant seeks to modify (like

Philadelphia Port Authority):

        a. Statement of No Objection. For USACE projects with a non-federal sponsor,
        a written “Statement of No Objection” from the non-federal sponsor is
        required if the requester is not the non-federal sponsor. Non-federal sponsors
        typically have operation and maintenance responsibilities; have a cost-share

                                                 28
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 29 of 76




        investment in the USACE project; and/or hold the real property for the USACE
        project. The purpose of the Statement of No Objection is to document that the non-
        federal sponsor is aware of the scope of the Section 408 request and does not object
        to the request being submitted to USACE to initiate the evaluation of the request.
        Districts must coordinate with non-federal sponsors throughout the review
        process and ensure feedback from non-federal sponsors is considered prior to
        USACE rendering a final decision on the Section 408 request. Requesters can
        ask the USACE district office to facilitate coordination with, and seek to obtain the
        Statement of No Objection from, the non-federal sponsor. . . .143

The Corps’ bright line mandate—“[i]f a Statement of No Objection cannot be obtained, the district

will not proceed with the Section 408 review”—has a few limited exceptions. One such exception

occurs where a Statement of No Objection cannot be obtained and the Corps “has all operation

and maintenance responsibilities for the portion of the [the Corps] project proposed to be

altered.”144

        B. The Ports enjoy Article III standing.

        The Corps argued in its briefing the Ports’ injuries (1) did not meet Article III’s

requirements, and (2) did not fall within the “zone of interests” of the Clean Water Act and the

Rivers and Harbors Act.145 But the Corps conceded at oral argument if we were to find the Ports

had Article III standing the Ports would also meet the zone of interests test, so we focus only on

Article III standing here.

        We must first determine if the Ports have standing to challenge the Corps’ decision making

process leading to the District Commander’s approvals. The “irreducible constitutional minimum”

of Article III standing consists of three elements.146 The Ports must establish: (1) they “suffered a

concrete and particularized injury that is either actual or imminent,” (2) their “injury is fairly

traceable to the defendant,” and (3) “it is likely that a favorable decision will redress th[eir]

injury.”147




                                                 29
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 30 of 76




       The Corps argues the Ports have not established injury in fact sufficient to meet Article

III’s requirements because the Ports’ harms from potential navigation and safety issues are

speculative.148 The Corps further argues the Ports assume pilots and the United States Coast Guard

will not act to eliminate navigational risks arising from the Edgemoor Project.149 The Ports counter

they will be injured in their business by impacts to navigation in the Delaware River Main Channel

resulting from the Corps’ issuance of the permit and approval, which the Ports argue is sufficient

injury.150 We may consider extra-record evidence in our review of standing.151 We find the Ports

establish standing.

               1. The Ports demonstrated Article III injury.

       An injury is “an invasion of a legally protected interest which is (a) concrete and

particularized and (b) actual or imminent, not conjectural or hypothetical.”152 A real risk of future

harm can qualify as an injury and the future harm need not be “literally certain”; the Ports may

suffer “injury where the [Corps’] conduct ‘substantially increased the risk of harm’” to the Ports.153

       The Ports established by way of signed declarations significant traffic passes through the

Edgemoor site in the Delaware River Main Channel: up to fifty-four ships pass by per day with a

per day average of thirty-six ships.154 The Ports also established by signed declarations the

proposed turning basin at Edgemoor would slow or halt this traffic in the Delaware River Main

Channel.155

       The Ports attach the President of Gloucester Port Mr. Inskeep’s declaration arguing delays

in shipping can increase costs because “[t]he scheduling of when ships can call on the . . .

Terminals is done ahead of time with specific ships being assigned specified windows of time

when they can dock at the terminal.”156 Where a ship misses its allotted window of time to dock,

or misses “the high tide window to which certain vessels are limited to for transiting to our



                                                 30
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 31 of 76




facilities,” issues can result, including: (1) ships having to anchor in the Delaware Bay until another

window of time is available, (2) impacts to scheduling for later ships, and (3) Ports not having

labor available to unload or load ships.157 Mr. Inskeep explained “[r]equests to our labor unions

for specified numbers of workers are done ahead of time in conjunction with the expected times

that the ships will be calling[,]” and “[b]ased on our contracts with unions, if ships miss their

allotted times, we are still required to pay the workers who were scheduled for that time for a

minimum number of hours.”158 The Ports claim “delays of even a couple hours will affect

operations,” and “[i]f this type of problem is experienced more regularly due to the Edgemoor

Terminal, this may cause our customers to seek other ports of call due to the delays experienced

by their vessels.”159 Mr. Inskeep further highlighted customers select terminals based in part on

reliability and the traffic and delays from the turning basin would affect the terminals’ reputations

and ability to attract customers because many customers calling on these terminals deal in

perishable goods.160 The President of Greenwich Port Mr. Whene represents timeliness is an

element of some contracts between the Ports and shipping customers.161 We find the risks of

financial harm from delays constitute an injury in fact.

       The Ports also argue there is a safety risk associated with placing the turning basin across

the full width of the Delaware River Main Channel passing Edgemoor because an accident could

occur, which could halt shipping in the Delaware River.162 Our colleagues recognize “[t]he more

drastic the injury that government action makes more likely, the lesser the increment in probability

necessary to establish standing.”163 We also find the risk of serious financial harm from a

catastrophic accident in the turning basin drastic enough to constitute an additional injury.

       We are also mindful the Philadelphia Port Authority is the sole non-federal sponsor of the

Delaware Main Channel Deepening Project under its Project Partnership Agreement with the



                                                  31
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 32 of 76




Corps.164 The Philadelphia Port Authority argues it has an ongoing interest in and financial

responsibility for the operation and maintenance of the Delaware River Main Channel. Diamond

State therefore needed to obtain a Statement of No Objection before the Corps considered

Diamond State’s section 408 request.165 The Corps argues Diamond State’s failure to obtain a

Statement of No Objection and the Corps’ failure to require one only deprived the Philadelphia

Port Authority of a procedural right devoid of any “actual injury traceable to the alleged violation

of the procedural right.”166 But our Supreme Court instructs we use a relaxed standard for

procedural injuries: “a person who has been accorded a procedural right to protect his concrete

interests can assert that right without meeting all the normal standards for redressability and

immediacy.”167 We conclude the Philadelphia Port Authority has additionally established harm

sufficient to challenge the Corps’ failure to obtain a Statement of No Objection because the Corps’

failure to require Diamond State to follow the Corps’ required procedures (or meet an exception)

deprived the Philadelphia Port Authority of the ability to protect its significant investment in the

navigability of the Delaware River Main Channel.

               2. The Ports demonstrated the Corps’ errors caused or will cause harm.

       The Ports must next establish the Ports’ injury “likely was caused or likely will be caused

by” the Corps’ conduct.168 Because the Ports challenge the Corps’ “unlawful regulation (or lack

of regulation) of someone else, standing is not precluded,” but it is more difficult to establish

causation.169 Where the plaintiffs are the unregulated parties, causation “ordinarily hinge[s] on the

response of the regulated (or regulable) third party to the government action or inaction—and

perhaps on the response of others as well.”170 To prove causation in these circumstances, the Ports

“must show that the ‘third parties will likely react in predictable ways’ that in turn will likely

injure” the Ports.171 This is a “fact-dependent” inquiry.172 Our Supreme Court instructs our analysis



                                                 32
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 33 of 76




be informed by comparing the allegations of harm in this case “to those made in prior standing

cases[,]” and it is well established “when the government regulates (or under-regulates) a business,

the regulation (or lack thereof) may cause . . . economic injuries to others” including

“competitors.”173

       The Corps argues the Ports assume pilots and the United States Coast Guard will not act to

eliminate whatever risk of delays might be present and the Ports “cannot rely on speculation about

the unfettered choices made by independent actors not before the courts.”174 The Ports counter

Diamond State cannot operate Edgemoor without using the turning basin and its use will inevitably

impact traffic and safety in the Delaware River Main Channel with or without careful piloting, so

the presence of third parties in the chain of causation does not defeat standing.175

       We disagree with the Corps. We find the Ports established risk of economic injury from

activities expressly allowed by government permitting. Diamond State submitted the turning basin

as an element of its Edgemoor Project design. The Corps issued a permit and approval for the

Edgemoor Project, and thus Diamond State will construct a port at Edgemoor with a turning basin

obstructing the entirety of the Delaware River Main Channel.176 The Ports established by public

comments and signed declarations the turning basin will impede traffic in the Delaware River Main

Channel. Whether the Corps will ultimately decide other benefits outweigh this impact on traffic

is not our inquiry and certainly not when determining whether the Ports enjoy standing. The Corps

decision impacts the Ports’ interests; this is enough.177

       The Philadelphia Port Authority also established causation as to its procedural harm. It

argues: (1) it is a non-federal sponsor of the Delaware River Main Channel Deepening Project; (2)

the Corps did not consult the Philadelphia Port Authority about the Edgemoor Project’s impact on

the Delaware River Main Channel as required by the Corps’ own guidance; (3) the Philadelphia



                                                 33
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 34 of 76




Port Authority had concerns about the impact of the Edgemoor Project turning basin on

navigability in the Delaware River Main Channel and would have brought those concerns to bear

on the permitting process; (4) the Corps deprived the Philadelphia Port Authority of its right to be

consulted it was forced to raise these concerns in the public comment process; (5) the Corps still

declined to address those concerns; and (6) Diamond State will construct a port at Edgemoor with

a turning basin obstructing the entirety of the Delaware River Main Channel. We agree the

Philadelphia Port Authority “connect[ed] th[eir] procedural harm with their concrete injury.”178

                3. The Ports’ requested remedy will redress their caused harm for now.

        The Ports also established injury and causation. Our Supreme Court instructs “[i]f a

defendant’s action causes an injury, enjoining the action . . . will typically redress that injury.”179

Here, “[p]etitioners need not prove . . . granting the requested relief is certain to redress their injury,

especially where some uncertainty is inevitable.”180 “A remand that would leave the agency free

to exercise its discretion in a proper manner, then, could lead to agency action that would redress

petitioners’ injury, even if it were to require initiation of a new . . . proceeding.”181 The Ports ask

us to “[v]acate the Army Corps’ Section 10/404 Permit and Section 408 Permission for Edgemoor”

and “[e]njoin any activities in furtherance of Edgemoor if and until new and lawful approvals for

Edgemoor are issued by the Army Corps[.]”182

        The Ports seek relief capable of redressing their harms sufficient to meet Article III’s case

or controversy requirement.183

        C. Our statutory and substantive review of the Corps’ challenged decision making
           compels we vacate the permit and authorization.

        We must now analyze the Corps’ decision making under the Administrative Procedure Act

after determining the Ports have standing to pursue their challenges. Under the Administrative

Procedure Act, and as instructed by our Supreme Court, we “decide all relevant questions of law,”

                                                    34
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 35 of 76




and “interpret . . . statutory provisions.”184 We must analyze the relevant provisions of the Rivers

and Harbors Act to determine whether the Corps acted within its statutory authority in declining

to review the turning basin. After our determination of scope, we then turn to the merits of the

Corps’ decision making.185

               1. The Corps’ review must consider the turning basin as an element of project
                  design.

       The parties disagree as to whether the Corps needed to include the turning basin proposed

by Diamond State in its Edgemoor Project application in the Corps’ review of the project. We

conclude the Corps had an obligation to review the turning basin as an element of the project

design under both Rivers and Harbors Act section 10 for the permit and Rivers and Harbors Act

section 408 for the authorization. We reach no conclusion as to whether the Corps had an

obligation to review the turning basin under the Clean Water Act because the Corps issued the

section 404/10 permit under Clean Water Act section 404 and Rivers and Harbors Act section 10

and our conclusion an obligation under the Rivers and Harbors Act section 10 is sufficient.

                       a. The Corps must review the turning basin under section 10.

       Congress in section 10 of the Rivers and Harbors Act bars obstructions to the navigable

capacity of the nation’s waterways.186 The Court of Appeals for the Ninth Circuit explained the

structure of Rivers and Harbors Act section 10 includes “contains three distinct proscriptive

clauses.”187 “The first clause[,]” which is not at issue here but illuminates the section’s purpose,

“flatly prohibits the creation of any obstruction to ‘the navigable capacity of any of the waters of

the United States’ unless affirmatively authorized by Congress.”188 The second and third clauses

conversely “permit certain activities in navigable waters provided that they proceed on plans

‘recommended by the Chief of Engineers and authorized by the Secretary of the Army.’”189

Congress in the third clause at issue today specifically makes it unlawful “in any manner to alter

                                                35
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 36 of 76




or modify the course, location, condition, or capacity of . . . the channel of any navigable water of

the United States[.]”190

       The Corps argues its permitting scope decision is entitled to deference because it relies on

the Corps’ technical determination within its area of expertise.191 This pronouncement is belied by

our established obligations.192 We decide questions of law.193

       The Corps further argues Congress through section 10 of the Rivers and Harbors Act

authorizes the Corps to permit or approve the creation of “structures” in navigable waters—

otherwise known as physical obstructions to navigation—but the turning basin is not a

“structure.”194 The Corps also urges us to consider our colleagues find vessels are only subject to

section 10 if they are permanently moored or unable to move.195 We decline to follow the Corps’

logic on this point. We agree with the circuit court’s conclusion in Sierra Club v. Andrus: there

are three independent subdivisions of section 10. The third subdivision of section 10 instructs it is

unlawful “in any manner to alter or modify the course, location, condition, or capacity of . . . the

channel of any navigable water of the United States” without Corps approval.196 The proposed

turning basin would require exclusive use of the Delaware River Main Channel, which is a federal

waterway and a public work. This exclusive use would not be temporary, as the operation of the

Port at Edgemoor would require use of the turning basin multiple times a day indefinitely and the

turning vessels would obstruct all traffic attempting to pass up and downstream. This is a

“modification” to the “capacity of” the channel of “a navigable water of the United States.” In line

with our reading, the Supreme Court has “consistently found [section 10’s] coverage to be

broad.”197

       We are further mindful the Corps assesses a project’s intended use as part of its public

interest review of a permit application under section 10.198 And the Administrative Record shows



                                                 36
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 37 of 76




the Corps believed consideration of the turning basin to be within the scope of its review for the

404/10 Permit. For example, the Corps’ conclusion on the navigation issue in its Decision

Document refers to the turning basin: “Although the tuning [sic] basin for the proposed port is

located in the federal navigation channel, navigation in the Delaware River will not be impacted

by the proposed project.”199 We “may not accept appellate counsel’s post hoc rationalizations for

agency action.”200

       We conclude the Corps should have assessed the turning basin as an Edgemoor Project

design element under Rivers and Harbors Act section 10.201

                      b. The Corps must review the turning basin under section 408.

       We also find the Corps had an obligation to review the turning basin as an element of the

Edgemoor Project design under Rivers and Harbors Act. Congress in section 408 of the Rivers and

Harbors Act prohibits “any person or persons to take possession of or make use of for any purpose,

or build upon, alter, deface, destroy, move, injure, obstruct by fastening vessels thereto or

otherwise, or in any manner whatever impair the usefulness of any . . . work built by the United

States” except “the Secretary may, on the recommendation of the Chief of Engineers, grant

permission for the alteration or permanent occupation or use of any of the aforementioned public

works when in the judgment of the Secretary such occupation or use will not be injurious to the

public interest and will not impair the usefulness of such work.”202

       The Corps argues it lacked authority to regulate or approve the turning basin under section

408 because the turning basin does not physically alter the congressionally-authorized dimensions

of the Delaware River Main Channel, does not impair the Channel’s usefulness, and does not

impair the Corps’ ability to maintain the Channel at its congressionally-authorized dimensions.203




                                                37
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 38 of 76




The Corps lastly argues the United States Coast Guard is the only agency with authority to regulate

transient vessels and vessel traffic in the Channel.204

       We disagree with the Corps. Congress’s plain language prohibits “tak[ing] possession of

or mak[ing] use of for any purpose . . . or in any manner whatever impair the usefulness of any . .

. work built by the United States” unless allowed by the Corps where it has determined “such

occupation or use will not be injurious to the public interest and will not impair the usefulness of

such work.”205 Federal courts construe section 408 “broadly to effectuate its goals” and reject

attempts to construe the statute narrowly to cover only physical or structural impairments of public

works.206

       There is no dispute the turning basin “make[s] use of” the Channel. As reflected in the

Corps’ public notice for the Project: Diamond State “requested Corps of Engineers permission

under 33 U.S.C. 408 . . . to utilize a portion of the Main Navigation Channel of the Delaware River,

Philadelphia to Sea Federal Navigation Project as their ship turning basin.”207 If the turning basin

will delay or stop ships traveling along the Channel to the Philadelphia-area ports, then the

Edgemoor Project “impairs the usefulness of” the federal project. The Corps needed to consider

this potential impact but the Corps determined because the Edgemoor Project does not “physically

alter” the Channel, “considering impacts to [the Channel] by vessels using a portion of the

[C]hannel as a turning basin was outside the scope of the Section 408 review.”208 The Corps

therefore dismissed concerns about the turning basin’s impacts to navigation without meaningful

inquiry and analysis.

       The Corps argued before us it would be usurping the role of the Coast Guard if it reviewed

the turning basin. We disagree. Both the plain language of the statutes at issue and the Corps’ own

regulations requiring the consideration of navigation as a public interest factor required the Corps



                                                 38
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 39 of 76




assess the use of the turning basin as a design element of the project plan. The Corps is not required

to take on new or different roles in so doing, and we agree the Coast Guard would be the federal

agency responsible for piloting and traffic management were the turning basin approved for use

by the Corps.209 But this does not relieve the Corps of its responsibility to consider the use of the

turning basin as an element of the Edgemoor Project proposal, which could not in fact operate

without the use of the main channel for a turning basin because of the proposed Edgemoor port’s

proximity to the Delaware River Main Channel. The Corps’ construction of its authority under

section 408 is inconsistent with the statute’s language, the Corps’ own regulations, and case law

interpreting the statute. The Corps erred when it declined review of the turning basin.

               2. The Corps erred in its decision making process.

       We determined the Ports have standing to challenge the Corps’ decision making and the

scope of the Corps’ review under the applicable statutes included consideration of the turning

basin. We now turn to the Ports’ challenges to the Corps’ adjudicative process.

                       a. The Corps did not reasonably consider the public interest in its
                          Section 404/10 permit review.

       The Corps’ review of a permit contains two substantive components: (1) the statutory phase

where an application is assessed under the regulations and guidance under the specific statute the

permit is sought under; and (2) the public interest phase where the project’s likely impacts on the

public interest are weighed, which is standard for all applications. Here we consider challenges

only to the Corps’ public interest review.

       The Corps’ decision whether to recommend the District Commander issue a 404/10 Permit

depends on whether the proposed project is “contrary to the public interest.”210 The Corps’ decision

is “based on an evaluation of the probable impacts, including cumulative impacts, of the proposed

activity and its intended use on the public interest” and the Corps makes its decision as a result of

                                                 39
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 40 of 76




this balancing process.211 All relevant factors must be considered, “among those are . . . economics,

. . . navigation, . . . safety, . . . and, in general, the needs and welfare of the people.”212 If the

foreseeable negative impacts on the public interest are found to outweigh the positive impacts, the

project is contrary to the public interest and the permit must be denied.213

       The Corps is not only required to consider the public interest but must also consider public

comments. The Corps’ permitting regulations require it must give “full consideration and

appropriate weight” to “all comments,” including those of “other experts on matters within their

expertise.”214 Our colleagues find Corps’ decision making arbitrary and capricious where the

Corps fails to adequately respond to relevant and significant public comments.215

       We look at the three public interest factors at the core of the Ports’ challenges: navigation,

safety, and economics. We review the cumulative impact of the proposed Edgemoor Project and

its intended use on the public interest consistent with the Corps’ regulations.216 The parties disagree

as to whether the Corps appropriately considered the public interest.

                              i.   The Corps must fully evaluate the navigation public interest
                                   factor.

       The parties disagree as to whether the Corps adequately considered the navigational

impacts of the Edgemoor Project and appropriately responded to public comment raising concerns

about them. The Corps’ regulation on the navigation public interest factor provides: “[p]rotection

of navigation in all navigable waters of the United States continues to be a primary concern of the

federal government” and “[d]istrict engineers should protect navigational and anchorage interests

. . . by recommending . . . a permit be denied unless appropriate conditions can be included to

avoid any substantial impairment of navigation and anchorage.”217 The weight the Corps must

afford each public interest factor depends on “its importance and relevance to the particular

proposal.”218

                                                  40
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 41 of 76




       Diamond State’s application relied on the Maritime Institute of Technology and Graduate

Studies Full Mission Ship Simulation for Edgemoor Navigation Feasibility Study for navigation

considerations.219 The Feasibility Study looked at the impact of the Edgemoor Port’s existence on

ships traversing the main channel and the ability of a single ship to use the turning basin and dock

at Edgemoor.220 More specifically: (1) nineteen of the simulation runs involved a single inbound

ship coming to Edgemoor, using the turning basin, and docking at Edgemoor; four of the

simulation runs involved a single outbound ship leaving Edgemoor and traveling back down the

river with no use of the turning basin; and six of the simulation runs involved two ships passing in

the Delaware River Main Channel in the vicinity of Edgemoor with no use of the turning basin.221

The Institute’s Feasibility Study did not look at the impact a ship turning in the turning basin might

have on traffic in the Delaware River Main Channel.

       As the Corps acknowledged in its 404/10 Decision Document, Diamond State situated the

Edgemoor Project along a section of the Delaware River “heavily traveled by large commercial

vessels.”222 And as the Corps acknowledged in its public notices for the Edgemoor Project,

Diamond State sought permission from the Corps under section 408 to use the entire width of the

Delaware River Main Channel as a turning basin.223

       The Corps provided very little information about the navigation factor in its Decision

Document despite these public acknowledgements. The Corps’ analysis of navigational impacts is

a conclusion not an analysis, “[a]lthough the tuning [sic] basin for the proposed port is located in

the federal navigation channel, navigation in the Delaware River will not be impacted by the

proposed project. Please refer to section 9.8 Effects on Corps Civil Works Projects[.]”224 The

Corps explained in section 9.8 “[o]n 22 June 2022, the Corps granted Section 408 Permission”

because the Corps concluded the Edgemoor Project “will not adversely affect the Philadelphia to



                                                 41
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 42 of 76




the Sea Project because it will not limit the ability of the Philadelphia to the Sea Project to function

as authorized, does not impair the Corps’ ability to operate and maintain the Philadelphia to the

Sea Project to its authorized dimensions, . . . will not increase the Corps’ future [operating and

maintenance] costs[, . . .] is not injurious to the public interest and will not impair the usefulness

of the Philadelphia to the Sea Project.”225 But the Corps in its 408 Decision Document does not

provide an additional justification. The Corps instead found “considering potential impacts of the

Turning Basin on navigation is outside the scope of the Section 408 review[.]”226

        The Corps argues its decision is supported by evidence notwithstanding its superficial

consideration of the overall navigation factor and its failure to consider the impact the planned

turning basin would have on traffic in the Delaware River Main Channel. It argues the evidence

shows it relied on the Institute’s Feasibility Study, which considered impacts to navigation.227 The

Corps speaks at length about the qualifications of the individuals who ran the simulation and the

various scenarios simulated, but the Corps does not and cannot argue the Feasibility Study

simulated impacts to navigation in the main Channel resulting from use of the turning basin.228

        And the Corps knew of these concerns. Commenters noted the failure of the Feasibility

Study to simulate ships using the turning basin and the effect on navigation in the main Channel,

making the Corps aware of this deficiency before it issued its decision. 229 The Ports’ comments

included an analysis by Captain Kichner detailing specific concerns with the Feasibility Study.230

Captain Kichner highlighted international authorities on navigation recommend no turning basin

intrude on a deep draft channel and expressed concern the Feasibility Study did not account for

the size of various vessels using the main Channel as they pass Edgemoor and did not conduct a

simulation assessing the impact of a turning basin across the entirety of the main Channel on traffic

in the main Channel.231



                                                  42
Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 43 of 76
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 44 of 76




       We deal with the Corps’ two errors—in relying on unconfirmed data and in relying on a

report in a challenged aspect—in turn.

       The Corps argues nothing prohibits the Corps from relying on data provided by an

applicant.234 We agree with its argument as a basic premise but “the Corps must undertake some

independent effort to verify or discredit . . . challenged material.”235 The Corps knew traffic in the

Delaware River Main Channel had been increasing and projected to further grow because Diamond

State included this information in its application materials. 236 Diamond State’s application

admitted “[c]urrent annual vessel traffic on the Delaware River is estimated to be 2,427 ships . . .

[and] the new port at Edgemoor will promote vessel traffic increase of 55% over the current annual

vessel traffic at the Port of Wilmington[.]”237 Diamond State further noted “[c]ontainer ship traffic

on the Delaware River is expected to increase to an estimated 648 vessels annually from 418

vessels currently; an increase of 230 additional vessels, in part attributable to the additional port

capacity being developed in Philadelphia and New Jersey.”238 The Corps never considered (or at

least did not publicly advise) whether Diamond State’s figure of “one ship every five hours” is (1)

accurate, (2) reliable, (3) properly restricted by vessel size, (4) stale due to recent increases in

vessel traffic, or (5) inaccurate for reasons such as tidal patterns or seasonality of shipping. The

lack of described analysis leads us to find unreasoned decision making.

       We next turn to the improper conclusion the Corps drew from the Feasibility Study. The

record is “teeming with specific factual challenges to [the Institute’s Feasibility Study] tendered

to the Corps[.]”239 “Specific challenges to a report used by the Corps in its public interest review

require specific responses or a determination that the report is not being relied upon in its

challenged aspects.”240 The Corps, in endorsing Diamond State’s unreasoned response to concerns




                                                 44
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 45 of 76




about the turning basin and navigation, relied on the Feasibility Study to justify its conclusion use

of the turning basin would not impact traffic in the main channel.

       The Corps argues, despite these infirmities, we must defer to an agency’s resolution of a

fact dispute in its area of expertise, citing Friends of Capital Crescent Trail v. Federal Transit

Administration.241 But the Court of Appeals for the District of Columbia Circuit in Friends of

Capital Crescent Trail considered an agency’s reliance on the findings of its own experts, holding

“[w]hen specialists express conflicting views, an agency must have discretion to rely on the

reasonable opinions of its own qualified experts[.]”242 And even where the agency relied on its

own expert, the Court of Appeals for the District of Columbia Circuit cautioned we “should not

automatically defer to [agency experts]. . . without carefully reviewing the record and satisfying

[our]selves that the agency has made a reasoned decision based on its evaluation of the

significance—or lack of significance—of the new information.’”243

       Commenters raised concerns to the Corps about traffic resulting from use of the turning

basin. The Corps had an independent obligation to ensure the soundness and reliability of studies

and data it relied upon through Diamond State in concluding there would be no impacts to

navigation.244 The Corps did not carry out these duties when responding to comments about the

deficiencies in the Feasibility Study and further studies which might be required. The Corps either

adopted Diamond State’s dismissals without explanation or provided a response which simply

concluded there were no impacts.245 We agree with reasoning from the United States Court of

Appeals for the Second Circuit “a decision made in reliance on false information, developed

without an effort in objective good faith to obtain accurate information, cannot be accepted as a

‘reasoned’ decision.”246




                                                 45
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 46 of 76




       The language used by the Corps in responding to public comments is “cryptic and

perfunctory[,]” which our colleagues have found can render agency decision making arbitrary and

capricious.247 And our Court of Appeals directs “an agency’s order must be upheld on the same

basis articulated in the order by the agency itself” so the Corps cannot now remedy its lack of

investigation or explanation.248

       The Corps argues its consideration of the navigation public interest factor is still entitled

to “substantial deference.”249 We agree with colleagues “[u]nder the ‘public interest’ review, the

Corps conducts a general balancing of a number of economic and environmental factors and its

ultimate determinations are entitled to substantial deference.”250 The Corps’ overall and ultimate

balancing of the public interest factors is entitled to “deference” but the Corps’ failure to consider

important aspects of the problem on the way to making a decision is not.

       The Ports further argue the Corps “failed to consider the significant amount of initial and

ongoing [operation and maintenance] dredging that will be required to maintain the Edgemoor

Terminal and the impact it will cause considering its proximity to the Channel.”251 The Ports noted

in public comments an ongoing dredging operation of the scale anticipated for Edgemoor will lead

to congestion at Edgemoor for periods of time each year.252 The Ports in their comment noted

dredging equipment would “require exclusive use of the areas of the river they occupy” and

“present an additional hazard to navigation” and the dredge pipes would “creat[e] additional traffic

and safety concerns for all commercial vessels[.]”253 Diamond State told the Corps there would be

dredging activities in the main channel and the dredge pipeline might impact traffic in the main

channel, but the Corps did not provide further comment on the issue and marked the matter

“closed” without “further comment” in its Decision Document.254 We agree the impact

maintenance dredging will have on navigation could be significant, especially where the



                                                 46
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 47 of 76




maintenance dredging is anticipated to be significant and to involve dredging directly next to and

with pipelines across the main channel. The Corps “completely failed to consider an important

aspect of the problem, or provided an explanation that is contrary to, or implausible in light of, the

evidence.”255 The Corps should consider whether these operations will impact navigation in the

main channel.

       We find the Corps’ consideration of the navigation public interest factor arbitrary and

capricious.

                             ii.   The Corps must consider the safety factor.

       The Ports argue the Corps needed to consider the safety impacts of the Edgemoor Project.

The Corps disagrees. But its documents confirm the Corps’ decision whether to issue a permit is

“based on an evaluation of the probable impacts, including cumulative impacts, of the proposed

activity and its intended use on the public interest” and the Corps enumerates “safety” as a factor

to be considered.256

       And the Corps knew of the safety concerns. Commenters raised safety concerns about the

Edgemoor Project and its intended use. For example, one expert requested a “simulation to

adequately assess the safety of [ship] maneuvers needs to be done under adverse conditions of

night transits, sudden squalls, and restricted visibility so as to determine the safe limits of vessel

navigation and maneuvering alongside the Terminal.”257 And the Institute pilots in the Feasibility

Study relied on by Diamond State and the Corps rated the safety of a single vessel turning in the

basin with no traffic in the main channel a 5.4/10, with 10 being the safest.258 Some pilots even

raised specific safety concerns about the single-ship turning maneuver in their Study comments.259

For example, one pilot noted “I would not make this transit in this vessel in these conditions . . . .

I used these tugs to maximize their efficiency and barely controlled the vessel.”260



                                                 47
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 48 of 76




       But the Corps concluded in its Decision Document the “safety” factor was “Not

Applicable” to the Project.261 The Corps therefore did not weigh or consider this factor in

determining whether the Project ran contrary to the public interest. But “[n]onsignificant impact

does not equal no impact.”262

       And the Corps never addressed the safety concerns raised by the Study Pilots despite the

Corps’ reliance on the Feasibility Study in other respects. When an agency “cites (allegedly)

favorable evidence and disregards unfavorable evidence” from “the same discrete source,” “[s]uch

cherry-picking embodies arbitrary and capricious conduct.”263

       The Corps argues the Ports impermissibly conflate their navigation concerns with safety

concerns and do not present safety concerns untied to navigation.264 But it is Corps, not the Ports,

who conflates safety with navigation. The Corps argues it considered safety because it considered

navigation.265 The Corps cannot now say it considered an issue it claimed to not consider in its

Decision Document with no supporting record evidence.266 But there is record evidence of

commenters raising specific safety concerns. The Corps needed to at least respond to public

comments and explain why safety concerns were unwarranted. An agency’s decision is arbitrary

and capricious when the agency “entirely fail[s] to consider an important aspect of the problem.”267

       We conclude the Corps’ largely non-existent consideration of the safety public interest

factor is arbitrary and capricious. The Corps must either consider and weigh the safety risks

associated with the project or explain why there are none.

                            iii.   The Corps properly considered the Project’s economics.

       The parties disagree as to whether the Corps appropriately considered the economics of the

Edgemoor Project. The Corps’ regulations on the “economics” public interest factor provide:

“[w]hen private enterprise makes application for a permit, it will generally be assumed that



                                                48
         Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 49 of 76




appropriate economic evaluations have been completed, the proposal is economically viable, and

is needed in the market place. However, the district engineer in appropriate cases, may make an

independent review of the need for the project from the perspective of the overall public

interest.”268

        The parties begin by disagreeing as to whether the Corps needed to find Diamond State is

entitled to a presumption of economic viability. The Corps argues it must presume economic

viability of the Edgemoor Project because a “private enterprise” submitted the proposal. 269 The

Ports argue Diamond State is not a “private enterprise” and is in fact a public corporation, which

receives public funds and is an arm of the State.270 We remind the Corps we must decide all matters

of law.271 The Delaware General Assembly explained in the statute creating Diamond State

“[t]here shall be established within the Department of State a body corporate and politic, with

corporate succession, constituting a public instrumentality of the State, and created for the

purpose of exercising essential governmental functions which is to be known as the ‘Diamond

State Port Corporation.’”272 Diamond State is tax exempt and is funded by Delaware taxpayers

as allocated by its General Assembly.273 Diamond State is plainly not a private enterprise. The

Corps’ leap to a presumption based on this misimpression lacks merit.

        The Corps argues, presumption or not, it reasonably found the Edgemoor Project would

provide economic benefits to Wilmington.274 The Ports argue the Corps needed to assess the

economic impacts of the project on the broader Delaware River region.275

        Diamond State supplied considerable information about the economic need for and

projected impacts of the Edgemoor Project.276 Many commenters supported the Project for

economic reasons including job creation.277 Others argued the Corps should conduct a full

economic analysis demonstrating the Edgemoor Project’s need and addressing the economic



                                                49
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 50 of 76




impacts to the regional and national economies.278 Diamond State and the Corps responded to these

concerns during the comment period and made clear the Corps’ Deep Draft Navigation Center

considered regional impacts.279

       The Corps found, in its Decision Documents, “[e]conomic development opportunities are

enhanced through the construction of a 45-ft. berth and access channel as a result of the ability to

attract larger container vessels and the associated reduced transportation costs per TEU.” 280 The

Corps also found “[t]he new port at Edgemoor is expected to increase jobs, wages, and tax revenue

opportunities for the City of Wilmington, and the socioeconomic region” and “is expected to

support the growth of over 4,000 jobs annually.”281 The Corps concluded “these changes are

expected to benefit the quality of life for many residents in the area.”282 The Corps found these

economic and general welfare benefits can be realized only by the Edgemoor Project. The Corps

also found the Project addressed an “increase in trade shipping to the eastern seaboard is expected

to come through the use of new ships that are larger than those currently in service” and, therefore,

“[t]to accommodate these new ships entering east coast ports, the Applicant [Diamond State]

anticipates that there will be a demand for expansion of east coast port operations.”283

       The Ports argue the Corps needed to consider the potential for Edgemoor to siphon business

from other Ports on the Delaware River.284 But the Ports do not cite authority supporting this

competition-based argument. The Corps disagrees, relying on Judge Wolf’s analysis thirty-seven

years ago in In Mall Properties, Inc. v. Marsh.285 There, Judge Wolf remanded the issues back to

the Corps after it denied a Section 404/10 permit for a mall development because of the economic

impact it might have on neighboring areas.286 Judge Wolf explained he would “not attribute to

Congress and the President the intention to delegate to the Corps the power to deny Mall Properties

a permit because a mall anywhere in North Haven would, in its view, unduly injure the economy



                                                 50
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 51 of 76




of New Haven while benefitting North Haven.”287 The Philadelphia Port Authority might feel it is

unfair to be subjected to competition from a neighboring port benefitting from the public work the

Philadelphia Port Authority agreed to fund. But this is not an appropriate factor for our

consideration and we decline to do so. The Corps appropriately considered the economic impacts

of the project in its Decision Document.

       On balance, we find the Corps’ consideration of the navigation and safety public interest

factors is arbitrary and capricious, but the Corps’ consideration of the economic public interest is

supported by the record.288

                       b. The Corps erred in granting section 408 authorization.

       The parties also disagree as to whether the Corps’ section 408 authorization is arbitrary

and capricious. We concluded the Corps needed to review the turning basin in its section 408

review. And we earlier examined the navigation, safety, and economics determinations for the

overall project in depth, so we now focus on those issues specific to the section 408 decision.

       The Corps argues Diamond State did not need to obtain a Statement of No Objection from

the Philadelphia Port Authority (and the omission was harmless error if the Corps had been

obligated).289 We conclude the Corps’ own guidance binds it and the Corps should have required

Diamond State to obtain a Statement of No Objection from the Philadelphia Port Authority.

                              i.   The Project Partnership Agreement noticed the Corps and
                                   Diamond State of the Philadelphia Port Authority’s’
                                   interest.

       The Ports urge we start with their longstanding obligations under the Project Partnership

Agreement. We must first decide whether we can consider the Project Partnership Agreement at

all. The Corps argues the Philadelphia Port Authority’s Statement of No Objection argument relies

solely on the Philadelphia Port Authority’s Project Partnership Agreement with the Corps for the



                                                51
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 52 of 76




Delaware River Main Channel Deepening Project, which is extra record evidence, and therefore

the Philadelphia Port Authority cannot support its argument.290

       The Corps cannot claim it reasonably excluded the Project Partnership Agreement from

the administrative record to begin with. The Corps knew about the contract because the Corps is a

party to the contract. Even if the Corps somehow forgot about the Project Partnership Agreement

for federal work on the Delaware River worth hundreds of millions of dollars, Diamond State

reminded the Corps in its application “[t]he [Corps], in partnership with the Philadelphia Port

Authority, currently is deepening the main channel from Philadelphia to the Atlantic Ocean from

40 to 45 feet.”291 And the Philadelphia Port Authority raised its status as the non-federal sponsor

of the Delaware River Main Channel Deepening Project in its September 17, 2020 public

comments.292

       Our Court of Appeals instructs the administrative record can be supplemented “where the

administrative record does not disclose the factors considered by an agency or the agency’s

construction of the evidence[.]”293 The Corps had to consider the Project Partnership Agreement

in its section 408 decision when it concluded, under the heading “Non-Federal Sponsor,” “[t]he

Delaware River, Philadelphia to the Sea River Federal Navigation Project is maintained at 100%

Federal expense.”294 Because the Corps could not have reached its conclusion without considering

the Project Partnership Agreement, we supplement the administrative record to include the Project

Partnership Agreement.295 To exclude it from the record where the Corps necessarily consulted it

and drew a conclusion from it would defy logic.

       And, if the Corps did fail to consider the Project Partnership Agreement with the sole non-

federal sponsor of the Delaware Main Channel Deepening Project when a third party sought to

alter the project and reached the above conclusion without referencing the contract, the Corps



                                                52
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 53 of 76




“completely failed to consider an important aspect of the problem” and its section 408 decision is

arbitrary and capricious on this ground alone.296

                            ii.   The Corps did not ensure a Statement of No Objection.

       The Philadelphia Port Authority is the sole non-federal sponsor of the Delaware Main

Channel Deepening Project. The Corps requires applicants, as memorialized in the Corps’ POLICY

AND PROCEDURAL GUIDANCE FOR PROCESSING REQUESTS TO ALTER US ARMY CORPS OF

ENGINEERS CIVIL WORKS PROJECTS PURSUANT TO 33 USC 408, to obtain and Statement of No

Objection from the non-federal sponsor of a federal project before considering the section 408

application.297 The Corps explains the purpose of the Statement of No Objection is to ensure the

Non-Federal sponsor “is aware of the scope of the Section 408 request and does not object to the

request” before the Corps “initiate[s] the evaluation of the request.”298 The parties disagree as to

whether the Corps needed to require Diamond State to obtain a Statement of No Objection from

the Philadelphia Port Authority before beginning its section 408 review.

       The Corps first argues no commenters raised this issue during the comment period, so the

Philadelphia Port Authority waived the argument and it cannot be a basis for overturning the

Corps’ decision.299 But our Supreme Court recently rejected a similarly hyper-technical waiver

argument.300 And even if we applied waiver to the power of the Corps to approve a Section 408

request without first obtaining the Statement of No Objection, there are exceptions to the waiver

rule. The Philadelphia Port Authority did not waive the issue because it is “obvious” and

“otherwise brought to the agency’s attention,” which are two recognized exceptions to the waiver

rule.301 It is “obvious” to an agency it must follow its own rules and it is “obvious” to an agency a

non-federal partner for a project exists where the agency entered into the very Project Partnership

Agreement at issue.302 The Corps signed the Project Partnership Agreement with the Philadelphia



                                                 53
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 54 of 76




Port Authority. Suggesting the Corps did not know about a contract to which it is a party defies

logic. And, even if it weren’t already obvious, the Philadelphia Port Authority raised its status as

the non-federal sponsor of the Delaware River Main Channel Deepening Project and the impact of

the Edgemoor Project to its ongoing responsibilities as a non-federal sponsor in its September 17,

2020 public comments, meaning its status as a non-federal sponsor was “otherwise brought to the

agency’s attention.”303 As our Court of Appeals explained, “[b]ecause the Corps ‘had independent

knowledge of the very issue that concerns [the Philadelphia Port Authority] in this case, . . . there

is no need for a commentator to point them out specifically in order to preserve its ability to

challenge a proposed action.’”304

       The Corps then argues because its obligation to require applicants to obtain a Statement of

No Objection stems from guidance and not a statute or regulation, the Corps’ noncompliance

cannot be a basis for overturning the agency action.305 We note the Corps represented in its

Diamond State section 408 Decision Document it followed its POLICY AND PROCEDURAL

GUIDANCE FOR PROCESSING REQUESTS TO ALTER US ARMY CORPS OF ENGINEERS CIVIL WORKS

PROJECTS PURSUANT TO 33 USC 408.306 We conclude agency action is arbitrary and capricious

where an agency fails to adhere to its own procedures without explanation, as is the case here.307

This rule is not conditioned on the source of the procedure in question. The Corps did not attempt

to obtain a Statement of No Objection on Diamond State’s behalf or require Diamond State to do

so itself, nor did it offer an explanation for failing to follow its own procedures other than to say

the federal government maintains the Delaware River Main Channel at 100% federal expense.308

       The Corps further argues even if its compliance with its guidance could be the basis for

overturning the 408 Approval, the Corps excepts the requirement “when [the Corps] has all

operation and maintenance responsibilities for the portion of the [the Corps] project proposed to



                                                 54
        Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 55 of 76




be altered.”309 The Corps claims it would apply this exception in the present suit because only the

Corps has operation and maintenance responsibilities for the portion of the Delaware River Main

Channel being altered.310 But the Corps only applies these exceptions where a Statement of No

Objection cannot be obtained, and neither Diamond State nor the Corps ever asked the Philadelphia

Port Authority in the first instance. We also cannot ignore the Philadelphia Port Authority has

ongoing financial obligations under its Project Partnership Agreement with the Corps for

construction and maintenance costs for dredge disposal facilities anywhere within the scope of the

Delaware River Main Channel Deepening Project.311 The Corps claims this exception is met

because the Edgemoor Project will not increase the Delaware River Main Channel Deepening

Project costs. But this theory is not the criteria for the exception. The Philadelphia Port Authority

had a right to express concerns regarding Diamond State’s Section 408 request and object to

modifications because the Philadelphia Port Authority is a contributing non-federal sponsor of the

Delaware River Main Channel Deepening Project, which Diamond State requests navigation-

altering use of in perpetuity. And we otherwise do not entertain a post-hoc rationalization: “It is a

foundational principle of administrative law that judicial review of agency action is limited to the

grounds that the agency invoked when it took the action.”312

       The Corps lastly argues its failure to require a Statement of No Objection is harmless

error.313 But obtaining a Statement of No Objection from non-federal sponsors is a threshold

requirement. The Corps cannot begin a section 408 review without it. We apply the rule of

harmless error where the mistake has no bearing on the substantive decision; the Corps here could

not make a decision, substantive or otherwise, without the Statement of No Objection. This mistake

if fundamental to beginning the process. It is not harmless error. We do not need to rehash here




                                                 55
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 56 of 76




why the Philadelphia Port Authority had interests worth protecting had it been appropriately

consulted.

          The Corps’ failure to require Diamond State to obtain a Statement of No Objection without

explanation is an arbitrary and capricious departure from past practice. The Corps’ section 408

decision is arbitrary and capricious.314

IV. Conclusion

          We vacate the section 404/10 permit. We vacate the section 408 authorization. The Corps

may now reevaluate Diamond State’s applications and take action consistent with their obligations

following our conclusions addressing: (1) the scope of the Corps’ review under the Clean Water

Act and the Rivers and Harbors Act; (2) the need for reconsideration of navigation and safety

issues; and, (3) the Corps’ obligation to ensure Diamond State obtains a Statement of No Objection

from the Philadelphia Port Authority. We do not vacate the decisions to require a longer record.

We are instead compelled by the extensive record to find the Corps’ decision making arbitrary and

capricious.


1
  40410AR-__ is a citation to the administrative record for the 404/10 permit, 408AR-__ is a
citation to the administrative record for the 408 approval, and PA__ is an extra-record citation to
an exhibit to the Ports’ Motion for summary judgment. All cited materials can be found at No. 23-
4283, ECFs 28, 29, 35, and 38. Unless there is a specific citation to a different docket, all ECF
citations are to the No. 23-4283 docket for ease of reference.
2
    40410AR-000119 (editorialization in green).
3
    40410AR-000047.
4
    40410AR-004831.
5
    Id.
6
    Water Resources Development Act, Pub. L. No. 102-580, § 101 (6), 106 Stat. 4797 (1992).
7
    40410AR-000047, -62.

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           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 57 of 76




8
    40410AR-000148; PA0018.
9
    PA0018–61.
10
     40410AR-000047.
11
     Id.
12
     40410AR-000047–48.
13
     40410AR-000048.
14
     40410AR-000008–33; 33 U.S.C. § 403 (section 10); 33 U.S.C. § 1344 (section 404).
15
     40410AR-000009.
16
     Id.
17
     Id.
18
     Id.
19
     Id.
20
     40410AR-000074.
21
     40410AR-004723; 40410AR-000010.
22
     40410AR-000034–219.
23
     40410AR-000558–70.
24
     40410AR-002709–30.
25
     40410AR-003415–83.
26
     Id.
27
     40410AR-003420. TEU is twenty-foot equivalent units as measurement for cargo capacity.
28
     40410AR-003440.
29
     40410AR-003420, -42.
30
     40410AR-000132–33.
                                               57
           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 58 of 76




31
     40410AR-000133, -179.
32
     See, e.g., 40410AR-000075.
33
   40410AR-000076. Sediment fans use water propulsion to protect dredged areas from
sedimentation.
34
     40410AR-000078; 40410AR-000010.
35
     40410AR-000181.
36
     408AR-000001.
37
     40410AR-004674–83.
38
     40410AR-004674.
39
     40410AR-004675.
40
     40410AR-004676–77.
41
     40410AR-004681.
42
     Id.
43
     40410AR-004721. This first comment period closed on October 1, 2020. Id.
44
     40410AR-004723.
45
     40410AR-004724–41.
46
     40410AR-004725.
47
     40410AR-004726–30.
48
     40410AR-004730–34.
49
     40410AR-004735–37.
50
     40410AR-004737–39.
51
     40410AR-004739–40.
52
     40410AR-004740–41.

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           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 59 of 76




53
     40410AR-004730–31.
54
     40410AR-004814.
55
     40410AR-004814–15.
56
     40410AR-004815.
57
     40410AR-004723–28.
58
   40410AR-004832. In their October 1, 2020 comments, Greenwich and Gloucester reference
their earlier-submitted August 28, 2020 comments and attach a copy of the same. 40410AR-
004837. Here we highlight comments raised in both submissions.
59
     40410AR-004832.
60
     40410AR-004832–33.
61
     40410AR-004833.
62
     40410AR-004846–50.
63
     40410AR-004852–60.
64
     40410AR-004856.
65
     Id.
66
     40410AR-004857–58.
67
     40410AR-004858.
68
     40410AR-004858–59.
69
     40410AR-008189–93.
70
     40410AR-008190.
71
     Id.
72
     40410AR-008315.
73
     40410AR-008319–20.
74
     40410AR-008329; 40410AR-008334.

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           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 60 of 76




75
  408AR-007350 (citing CORPS, EC 1165-2-220 POLICY AND PROCEDURAL GUIDANCE FOR
PROCESSING REQUESTS TO ALTER US ARMY CORPS OF ENGINEERS CIVIL WORKS PROJECTS
PURSUANT TO 33 USC 408, https://www.mvs.usace.army.mil/Portals/54/EC_1165-2-220.pdf).
76
     408AR-007351.
77
     408AR-007351–88.
78
     408AR-007352.
79
   Id.; 408AR-007371–79. A “team from the Philadelphia District and The Coastal Processes
Branch, Coastal and Hydraulics Laboratory, U.S. Army Engineer Research and Development
Center (ERDC)” conducted an Agency Technical Review as a component of the section 408
review. 408AR-007371–73.

The Agency Technical Review panel flagged the impact to navigation which could accompany the
maintenance dredging, but the Corps deemed it unworthy of a responsive comment. 408AR-
007380. The ATR Panel was also informed by Diamond State Port Corporation the dredge pipeline
for the maintenance dredging operation may be “required to cross the navigation channel,” and
therefore require the installation of “a submerged pipeline,” but the Agency Technical Review
Panel stated it had “no further comment” on this point. Id.
80
     408AR-007352.
81
     408AR-007352–53. USACE stands for the United States Army Corps of Engineers.
82
     408AR-007355.
83
     40410AR-010020–84.
84
     40410AR-010021.
85
     Id.
86
     40410AR-010021–22.
87
     40410AR-010029.
88
     40410AR-010042.
89
     Id.
90
     40410AR-010042–43.
91
     40410AR-010043. Confined disposal facilities hold materials dredged from bodies of water.

                                                60
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 61 of 76




92
     33 C.F.R. § 320.4(a).
93
     40410AR-010054–55.
94
     40410AR-010054–55.
95
     40410AR-010055.
96
     40410AR-010056.
97
     40410AR-010075–76.
98
     40410AR-010242–77.
99
     Id. Repeat comments have been listed only once for brevity.
100
      40410AR-010331–48.
101
      40410AR-010331.
102
      Id.
103
      40410AR-010331.
104
      ECF 1.
105
      Id. ¶ 9.
106
      No. 24-1008, ECF 1 ¶ 81.
107
      Id. ¶¶ 81–101.
108
      ECF 24.
109
   ECFs 28, 29, 35, 38, 40. The Philadelphia Port Authority alone brings a separate challenge to
the Corps’ section 204(f) authorization, which will be the subject of a later round of briefing.
110
    Because the standard for summary judgment is different in Administrative Procedure Act
appeals, factual determinations are made by the agency. See, e.g., NVE, Inc. v. Dep’t of Health &
Hum. Servs., 436 F.3d 182, 185 (3d Cir. 2006) (in an Administrative Procedure Act case “the
District Court’s review is limited to the administrative record”). “[O]ur focus is the administrative
record already in existence, not some new record made initially in the reviewing court.” Camp v.
Pitts, 411 U.S. 138, 142 (1973). But there are limited exceptions to this rule. We find one such
exception applies in this case and we supplement the administrative record to include the Project
Partnership Agreement between the Philadelphia Port Authority in the Corps, as we discuss at
length below.

                                                 61
           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 62 of 76




Other than this limited exception, our review of extra-record facts is limited to our standing
inquiry. See Trenton Threatened Skies, Inc v. FAA, 90 F.4th 122, 130 (3d Cir. 2024) (quoting
Prometheus Radio Project v. Fed. Commc’ns Comm’n, 939 F.3d 567, 578 (3d Cir. 2019), rev’d
on other grounds, 592 U.S. 414 (2021)) (“It is well established that petitioners challenging agency
action may supplement the administrative record for the purpose of establishing Article III
standing, even though judicial review of agency action is usually limited to the administrative
record.”).
111
      5 U.S.C. § 702.
112
      See Uddin v. Mayorkas, 862 F. Supp .2d 391, 399 (E.D. Pa. 2012) (citations omitted).
113
      See id.
114
    5 U.S.C. § 706(2)(A); Mirjan v. Attorney Gen. of U.S., 494 Fed. App’x 248, 250 (3d Cir. 2012)
(citing Donovan v. Adams Steel Erection, Inc., 766 F.2d 804, 807 (3d Cir. 1985)).
115
      Judulang v. Holder, 565 U.S. 42, 52–53 (2011).

  CBS Corp. v. Fed. Commc’ns Comm’n, 663 F.3d 122, 137 (3d Cir. 2011) (citing Motor Vehicle
116

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).
117
   NVE, Inc., 436 F.3d at 190; see also Fed. Commc’ns Comm’n v. Fox Television Stations, Inc.,
556 U.S. 502, 515 (2009) (noting “the requirement that an agency provide reasoned explanation
for its action”).
118
      Motor Vehicle Mfrs., 463 U.S. at 50.

  Culclasure v. Comm’r of Soc. Sec. Admin., 375 F. Supp. 3d 559, 570 (E.D. Pa. 2019) (quoting
119

United States v. L. A. Tucker Truck Lines, Inc., 344 U.S. 33, 37 (1952)).
120
      Ohio v. EPA, 144 S. Ct. 2040, 2055 (2024) (cleaned up).
121
    Del. Riverkeeper Network v. U.S. Army Corps of Eng’rs, 869 F.3d 148, 155 (3d Cir. 2017)
(citation omitted).
122
   5 U.S.C. § 706 (“To the extent necessary to decision and when presented, the reviewing court
shall decide all relevant questions of law, interpret constitutional and statutory provisions, and
determine the meaning or applicability of the terms of an agency action.”); see also Natural Res.
Council v. EPA, 755 F.3d 1010, 1022–23 (D.C. Cir. 2014) (no waiver where challenge was to
EPA’s “key assumption” it had statutory authority to exempt some hazardous-waste-derived fuels
from regulation).
123
      Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2273 (2024).
124
      5 U.S.C. § 706(2)(A).
                                                 62
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 63 of 76




125
  Michigan v. EPA, 576 U.S. 743, 750 (2015) (quoting Allentown Mack Sales & Serv., Inc. v.
NLRB, 522 U.S. 359, 374 (1998)).
126
      NVE, Inc., 436 F.3d at 190.
127
      33 U.S.C. § 1311(a).
128
      Id. § 1344.
129
      40 C.F.R. § 230, et seq.
130
      States v. Pa. Indus. Chem. Corp., 411 U.S. 655, 663 (1973).
131
      33 U.S.C. § 403.
132
      33 C.F.R. § 322, et seq.
133
      Id. §§ 325.3(a), (a)(13).

  Id. § 320.4(a); see also Towns of Norfolk & Walpole v. U.S. Army Corps of Eng’rs, 772 F. Supp.
134

680, 683 (D. Mass. 1991), aff’d sub nom. Town of Norfolk v. U.S. Army Corps of Eng’rs, 968 F.2d
1438 (1st Cir. 1992).
135
      33 C.F.R. § 320.4(a)(1) (emphasis added).
136
      Id.; see also id. § 320.4(a)(2) (general considerations for all permits).
137
      Id. § 320.4(a)(3) (emphasis added).
138
      33 U.S.C. § 408.
139
      Id.
140
   CORPS, EC 1165-2-220 POLICY AND PROCEDURAL GUIDANCE FOR PROCESSING REQUESTS TO
ALTER US ARMY CORPS OF ENGINEERS CIVIL WORKS PROJECTS PURSUANT TO 33 USC 408,
408AR-0078718–817, https://www.mvs.usace.army.mil/Portals/54/EC_1165-2-220.pdf.
141
    The Corps reaffirmed and extended the Section 408 Guidance in November 2023. See Corps,
ACOE Memorandum for Commanders, Major Subordinate Command and Districts entitled
Extension of EC 1165-2-220 dated 30 September 2018, Policy and Procedural Guidance for
Processing Requests to Alter US Army Corps of Engineers Civil Works Projects Pursuant to 33
U.S.C. 408 (Nov. 14, 2023), https://www.nap.usace.army.mil/Portals/39/docs/regulatory/408/EC-
1165-2-220-Extension-14-Nov-2023-Signed.pdf?ver=-9WO4vs44NbVRFweHZ2T0A%3D%3D.
In the reaffirmation, the Corps explained it was in the process of promulgating regulations under
section 408 and the POLICY AND PROCEDURAL GUIDANCE FOR PROCESSING REQUESTS TO ALTER
                                                    63
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 64 of 76




US ARMY CORPS OF ENGINEERS CIVIL WORKS PROJECTS PURSUANT TO 33 U.S.C. 408 would
govern until such rules were finalized.
142
   CORPS, EC 1165-2-220 POLICY AND PROCEDURAL GUIDANCE FOR PROCESSING REQUESTS TO
ALTER US ARMY CORPS OF ENGINEERS CIVIL WORKS PROJECTS PURSUANT TO 33 USC 408,
408AR-0078718–817, at 21, https://www.mvs.usace.army.mil/Portals/54/EC_1165-2-220.pdf.
143
      Id. at 16 (emphasis added).
144
      Id. at 17.
145
   We apply the zone of interests test to determine whether a “statute grants the plaintiff the cause
of action that he asserts,” presuming “a statute ordinarily provides a cause of action ‘only to
plaintiffs whose interests fall within the zone of interests protected by the law invoked.’” Bank of
Am. Corp. v. City of Miami, Fla., 581 U.S. 189, 196–97 (2017) (quoting Lexmark Int’l, Inc. v.
Static Control Components, Inc., 572 U.S. 118, 127–28 (2014)).
146
   Toll Bros. v. Twp. of Readington, 555 F.3d 131, 137 (3d Cir. 2009) (quoting Lujan v. Defenders
of Wildlife, 504 U.S. 555, 560 (1992)).

  Am. Farm Bureau Fed’n v. EPA, 792 F.3d 281, 293 (3d Cir. 2015) (quoting Massachusetts v.
147

EPA, 549 U.S. 497, 517 (2007)) (emphases removed).
148
      ECF 35 at 8–16.
149
      Id.
150
      ECF 29-2 at 14–18.
151
    “It is well established that petitioners challenging agency action may supplement the
administrative record for the purpose of establishing Article III standing, even though judicial
review of agency action is usually limited to the administrative record.” Trenton Threatened Skies,
Inc, 90 F.4th at 130 (quoting Prometheus Radio Project, 939 F.3d at 578).
152
   In re Schering-Plough Corp. Intron/Temodar Consumer Class Action, 678 F.3d 235, 244 (3d
Cir. 2012) (citation omitted).
153
  Doe 1 v. Perkiomen Valley Sch. Dist., 585 F. Supp. 3d 668, 680 (E.D. Pa. 2022) (citation
omitted).
154
   PA0322–23 (citing National Oceanic and Atmospheric Administration, the Bureau of Ocean
Energy Management, and the United States Coast Guard Navigation Center).
155
      See, e.g., PA0003; PA0006.



                                                 64
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 65 of 76




156
    PA0003; see also PA0008 (“The scheduling of the ships is done years, months and days ahead
of time, being updated as necessary, and the schedule allots each ship a specified window of time
to dock at our Terminal.”).
157
      Id.
158
      PA0003. Counsel confirmed the Ports’ pay obligations upon questioning during oral argument.
159
      Id., PA0009.
160
      PA0002–05; see also PA0009.
161
      PA0007.
162
      ECF 29-2 at 52–55.
163
      Mountain States Legal Found. v. Glickman, 92 F.3d 1228, 1234 (D.C. Cir. 1996).
164
      ECF 29-2 at 18.
165
      Id.
166
      ECF 35 at 15.
167
      Lujan, 504 U.S. at 572 n.7. The Court stated more fully:

            There is this much truth to the assertion that “procedural rights” are special: The
            person who has been accorded a procedural right to protect his concrete interests
            can assert that right without meeting all the normal standards for redressability and
            immediacy. Thus, under our case law, one living adjacent to the site for proposed
            construction of a federally licensed dam has standing to challenge the licensing
            agency’s failure to prepare an environmental impact statement, even though he
            cannot establish with any certainty that the statement will cause the license to be
            withheld or altered, and even though the dam will not be completed for many years.
            ...
Id.
168
      Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 382 (2024).
169
      Id. (quoting Lujan, 504 U.S. at 562).
170
      Lujan, 504 U.S. at 562.
171
      Food & Drug Admin., 602 U.S. at 383 (quoting California v. Texas, 593 U.S. 659, 675 (2021)).
172
      Id. at 384.
                                                     65
           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 66 of 76




173
      Id. at 384–85 (collecting cases).
174
      ECF 35 at 14 (quoting Food & Drug Admin., 602 U.S. at 383).
175
   ECF 38 at 8 n.3 (citing Mountain States Legal Found., 92 F.3d at 1234–35 (finding standing
when government error could lead to wildfire); Sound Action v. U.S. Army Corps of Eng’rs, No.
18-733, 2019 WL 446614, at *12 (W.D. Wash. Feb. 5, 2019) (plaintiffs claiming aesthetic injury
from residents armoring shorelines without a permit had standing to challenge Corps decision
leading to the armoring, even though Corps was not “sole source” of injury)).
176
      40410AR-010035.
177
      Clean Air Council v. United States, 362 F. Supp. 3d 237, 246 (E.D. Pa. 2019).
178
   Ctr. for a Sustainable Coast v. U.S. Army Corps of Eng’rs, 100 F.4th 1349, 1356 (11th Cir.
2024).
179
      Food & Drug Admin., 602 U.S. at 381.
180
   Competitive Enter. Inst. v. Nat’l Highway Traffic Safety Admin., 901 F.2d 107, 117–18 (D.C.
Cir. 1990).
181
      Id. at 118.
182
      No. 24-1008, ECF 1 at 45.
183
    See also Ocean Advocates v. U.S. Army Corps of Eng’rs, 402 F.3d 846, 860 (9th Cir. 2005)
(plaintiffs challenged Corps’ approval to extend a dock because it would increase tanker traffic
and create a “greater potential for an oil spill” and sufficient for standing because evidence showed
the dock “would contribute to the risk of an oil spill”); Mountain States Legal Found., 92 F.3d at
1234–35 (plaintiffs had standing to challenge government plan to harvest timber based on risk
error could lead to wildfire); Kentuckians for Commonwealth v. U.S. Army Corps of Eng’rs, 963
F. Supp. 2d 670, 672–81 (W.D. Ky. 2013) (plaintiffs had standing to challenge Corps’ public
interest review of mining permits based on risk of impacts to human health).
184
   5 U.S.C. § 706; Loper Bright, 144 S. Ct. at 2273 (“Courts must exercise their independent
judgment in deciding whether an agency has acted within its statutory authority, as the APA
requires.”).
185
    In its Notice of Specific Challenges, the Philadelphia Port Authority noticed an intent to
challenge the Corps’ decision to not hold public hearings, arguing “[t]he Army Corps’ statement
that ‘the Corps determined that issues raised in the request for a public hearing were insubstantial
and could be addressed without a public hearing’ is not adequately supported.” No. 24-1008, ECF
20 at 9. Although the Philadelphia Port Authority submitted comments asking for a public hearing,
it did not allege the Section 404/10 Permit should be overturned because the Corps did not hold a
                                                 66
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 67 of 76




public hearing. The Ports also did not brief this argument in their motion for summary judgment.
The argument has been waived.
186
      Congress mandates in full:

            The creation of any obstruction not affirmatively authorized by Congress, to the
            navigable capacity of any of the waters of the United States is prohibited; and it
            shall not be lawful to build or commence the building of any wharf, pier, dolphin,
            boom, weir, breakwater, bulkhead, jetty, or other structures in any port, roadstead,
            haven, harbor, canal, navigable river, or other water of the United States, outside
            established harbor lines, or where no harbor lines have been established, except on
            plans recommended by the Chief of Engineers and authorized by the Secretary of
            the Army; and it shall not be lawful to excavate or fill, or in any manner to alter or
            modify the course, location, condition, or capacity of, any port, roadstead, haven,
            harbor, canal, lake, harbor of refuge, or inclosure within the limits of any
            breakwater, or of the channel of any navigable water of the United States, unless
            the work has been recommended by the Chief of Engineers and authorized by the
            Secretary of the Army prior to beginning the same.

33 U.S.C. § 403.
187
   Sierra Club v. Andrus, 610 F.2d 581, 594 (9th Cir. 1979), rev’d on other grounds sub nom.
California v. Sierra Club, 451 U.S. 287 (1981), and vacated on other grounds sub nom. Sierra
Club v. Watt, 451 U.S. 965 (1981).
188
      Id.
189
      Id.
190
      33 U.S.C. § 403.
191
   ECF 28 at 21 (citing Town of Norfolk, 968 F.2d at 1454–55; Envtl. Coal. of Broward Cnty., Inc.
v. Myers, 831 F.2d 984, 986 (11th Cir. 1987)).
192
      Loper Bright, 144 S. Ct. at 2273.
193
      5 U.S.C. § 706(2)(A).
194
      ECF 35 at 16–17.
195
      Id.
196
      33 U.S.C. § 403.




                                                     67
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 68 of 76




197
   Wyandotte Transp. Co. v. United States, 389 U.S. 191, 201 (1967); see also United States v.
Republic Steel Corp., 362 U.S. 482, 488 (1960) (The “broad construction given s 10 of the 1890
Act was carried over to s 10 of the 1899 Act[.]”).
198
      33 C.F.R. § 320.4(a)(1).
199
      40410AR-010056.
200
      W.R. Grace & Co. v. EPA, 261 F.3d 330, 338 (3d Cir. 2001).
201
    Setting the use of the turning basin aside, construction of the turning basin as an element of the
Edgemoor Project required dredging itself, which is undoubtably subject to a 404/10 permit and
review. The Corps admitted “[t]he ship pilots in the Navigation and Safety Study recommended
that the design plans consider deepening an additional area near the Wilmington Port Expansion
‘to provide additional maneuvering space as inbound vessels turn in the turning basin.’” ECF 28
at 24 (citing 40410AR-003442). Per the Corps, “Diamond State Port Corporation adopted the ship
pilots’ design recommendation to deepen those additional areas in the final plans.” Id. at 25 (citing
40410AR-010243) (“The simulation was performed by Delaware River Pilots, who are responsible
for the navigation on the river, and the layout of the basin was adjusted based on the comments
received in the simulation by the pilots, tug boat captains and the USACE Representatives.”). The
Corps has not and cannot argue dredging activities in the waters of the United States are not subject
to its review.
202
      33 U.S.C. § 408.
203
    ECF 35 at 18–19. The Corps further argues Congress prohibits impairing the usefulness of a
public works project by “fastening vessels” to it, but because transient vessels in the Turning Basin
are not “fastened” they are outside of section 408’s scope. The Corps argues the construction rule
the “specific governs the general” controls. Ki Se Lee v. Ashcroft, 368 F.3d 218, 223 (3d Cir. 2004)
(specific governs the general in statutory construction). But “fastening vessels” is an enumerated
example posed in the alternative to “take possession of,” “or make use of for any purpose, “or in
any manner whatever impair the usefulness of.” The “or”s in the statute must be given their
meaning, and the specific does not govern the general where the terms at issue are phrased in the
alternative.
204
      ECF 35 at 19 (citing 46 U.S.C. § 70001(a)).
205
      33 U.S.C. § 408.
206
   See United States v. Fed. Barge Lines, Inc., 573 F.2d 993, 997 (8th Cir. 1978). Federal Barge
Lines concerned whether a sunken barge “impair[ed] the usefulness” under Section 408 of a nearby
dam when the barge did not cause physical damage to the dam, but instead created turbulence
below. The United States Court of Appeals for the Eighth Circuit was “convinced that section 408
should be interpreted broadly to cover [such an] impairment to the usefulness of the dam” because
the plain language of the statute is not limited to structural impairment. Id. This “interpretation,”
the court explained, “accords with the purpose of the Rivers and Harbors Act,” which is “to protect,
                                                    68
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 69 of 76




preserve, and make safe the Nation’s navigable waterways.” Id.; see also Russelville Legends LLC
v. U.S. Army Corps of Eng’rs, 24 F. 4th 1192, 1195 (8th Cir. 2022) (stating the breadth of the
language “impairing the usefulness” of a work in Section 408 “in any manner whatever” is
“significant because someone could undoubtedly impair the usefulness of a Corps project from
outside its boundaries.”).
207
      40410AR-004721–22.
208
      408AR-007352–53.
209
      See, e.g., 46 U.S.C. § 70001.
210
      33 C.F.R. § 320.4(a)(1).
211
      Id.
212
      Id.
213
      Id.
214
      Id. § 320.4(a)(3).
215
    Ohio Valley Envtl. Coalition v. U.S. Army Corps of Eng’rs, No. 08-0979, 2013 WL 1305732,
at *9 (S.D. W.Va. Mar. 28, 2013).
216
    The parties disagree as to whether the Corps needed to consider the cumulative impacts of the
public interest factors. ECF 28 at 31–32; ECF 29-2 at 30–31. But the Corps makes clear in its
regulations “[t]he decision whether to issue a permit will be based on an evaluation of the probable
impacts, including cumulative impacts, of the proposed activity and its intended use on the public
interest.” 33 C.F.R. § 320.4(a)(1) (emphasis added).
217
      33 C.F.R. § 320.4(o).
218
      Id. § 320.4(a)(3).
219
      40410AR-003415–83.
220
      Id.
221
      40410AR-003428–32, 37–39.
222
      40410AR-010047.
223
      See, e.g., 40410AR-004721–23.
224
      40410AR-010056.
                                                69
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 70 of 76




225
      40410AR-010075–76.
226
      408AR-007352–53.
227
   ECF 28 at 23–26; ECF 35 at 24 (“Although the Corps was not required to analyze the navigation
and safety impacts of the Turning Basin, it reasonably relied upon the MITAGS Navigation and
Safety Study to conclude that the Wilmington Port Expansion and Turning Basin would not impair
navigability of the Delaware River Channel.” (citing 40410AR-003441-42)).
228
      ECF 28 at 22–23; ECF 35 at 24.
229
      40410AR-004832.
230
      40410AR-004852–60.
231
      40410AR-004856–58.
232
      ECF 28 at 28.
233
      Id. (citing 40410AR-010268).
234
      ECF 35 at 26 (citing Friends of the Earth v. Hintz, 800 F.2d 822, 834–35 (9th Cir.1986)).
235
   Van Abbema v. Fornell, 807 F.2d 633, 639 (7th Cir. 1986). “The Corps certainly may utilize
reports and facts derived from outside reports and sources” but the Corps is “responsible for the
independent verification of specifically challenged information obtained from applicants or
outside consultants.” Id.
236
    See, e.g., 40410AR-000047 (“According to the DSPC Strategic Master Plan, conservative
assumptions forecast that the share of the Asian trade arriving at East Coast ports will expand
between 27 to 32 percent above the average volumes experienced over the past five years.”);
40410AR-000132 (“[T]he expansion of the Port to Edgemoor will promote vessel traffic to
increase 55% over current traffic[.]”; 40410AR-000181 (“Commercial shipping activity is
expected to increase in the project area upon completion of the new container port facility.”);
40410AR-000161 (“The increase in underwater noise generated from ship traffic will be an
insignificant change, given that the Delaware River is frequently traversed by large commercial
vessels.”).
237
      40410AR-000191.
238
      Id.
239
      Van Abbema, 807 F.2d at 643.
240
      Id.
                                                  70
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 71 of 76




241
      ECF 35 at 25 (citing 877 F.3d 1051, 1059 (D.C. Cir. 2017)).
242
   Friends of Cap. Crescent Trail, 877 F.3d at 1059 (quoting Marsh v. Oregon Nat. Res. Council,
490 U.S. 360, 378 (1989)).
243
      Id. (quoting Marsh, 490 U.S. at 378).
244
      Van Abbema, 807 F.2d at 643.
245
   See, e.g., Envtl. Health Trust v. Fed. Commc’ns Comm’n, 9 F.4th 893, 904–06 (D.C. Cir. 2021)
(an agency cannot justify decision making based upon the unreasoned analysis of a third party).
246
      Sierra Club v. U.S. Army Corps of Eng’rs, 701 F.2d 1011, 1035 (2d Cir. 1983).
247
   HLI Lordship Industries, Inc. v. Comm. for Purchase from the Blind and other Severely
Handicapped, 791 F.2d 1136, 1141 (4th Cir. 1986); see also Pub. Emps. for Envtl. Resp. v. Nat’l
Park Serv., 605 F. Supp. 3d 28, 41 (D.D.C. 2022) (“An agency must do more than merely nod to
concerns raised by commenters only to dismiss them in a conclusory manner . . . .” (cleaned up)).
248
      W.R. Grace & Co., 261 F.3d at 338.
249
  ECF 35 at 23 (citing Town of Norfolk, 968 F.2d at 1454–55; Myers, 831 F.2d at 986; Forsyth
Cnty. v. U.S. Army Corps of Eng’rs, 633 F.3d 1032, 1041–42 (11th Cir. 2011)).
250
      Town of Norfolk, 968 F.2d at 1454–55 (emphasis added).
251
      ECF 29-2 at 57 (citing 408AR-007380).
252
      40410AR-008329.
253
      Id.
254
      408AR-007380.
255
      NVE, Inc., 436 F.3d at 190.
256
      33 C.F.R. § 320.4(a)(1).
257
      40410AR-004858.
258
      40410AR-003440.
259
   See, e.g., 40410AR-003457 (did not complete berthing as “wind was too high directly on the
beam”).

                                                 71
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 72 of 76




260
      40410AR-003462.
261
      40410AR-010055.
262
   State of N.C. v. Hudson, 665 F.Supp. 428, 446 (E.D.N.C. July 7, 1987); see also Sierra Club v.
FERC, 867 F.3d 1357, 1375 (D.C. Cir. 2017) (“[W]hen an agency thinks the good consequences
of a project will outweigh the bad, the agency still needs to discuss both the good and the bad.”).
263
      Sierra Club, 177 F. Supp. 3d at 540.
264
      ECF 35 at 27–28.
265
      ECF 28 at 22–27.
266
      W.R. Grace & Co., 261 F.3d at 338.
267
      Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43.
268
      33 C.F.R. § 320.4(q).
269
      ECF 28 at 32–33 and n.17.
270
      ECF 29-2 at 46–47 n.24 (citing 29 Del. Code §§ 8781, 8788).
271
      5 U.S.C. §706.
272
      29 Del. Code § 8781 (emphasis added).
273
    Id. § 8787 (“[T]he Corporation will be exercising essential governmental functions. To this
end, the Corporation shall not be required to pay any taxes or assessments or charges of any
character[.]”); id. § 8788 (“If the Corporation’s final budget for any fiscal year includes a proposal
for an appropriation from the General Assembly for operating or capital funds, the budget shall be
approved by the Chair of the Corporation before its submission to the General Assembly as part
of the Governor’s proposed capital or operating budget.”).
274
      ECF 35 at 28–31.
275
      ECF 29-2 at 55–57.
276
      40410AR-000116–33; 40410AR-002709–30.
277
    See, e.g., 40410AR-004799; 40410AR-004805; 40410AR-004807; 40410AR-004809;
40410AR-004811; 40410AR-004819.
278
    See, e.g., 40410AR-004700; 40410AR-004735; 40410AR-004813; 40410AR-004821;
40410AR- 004825.
                                                   72
            Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 73 of 76




279
      See, e.g.,

            Comment: “The USACE must analyze and give great weight to the reasonably
            foreseeable detrimental impacts on the economic vitality of other entities in the
            area, including other regional maritime ports. See 33 C.F.R. §§ 320 and 325. To
            fulfill this obligation, the USACE has specific guidance on what must be included
            in an appropriate accounting analysis. As applied to the instant application, the
            guidance requires that the accounting include an analysis of whether the proposed
            additional port on the Delaware River is needed or whether this proposed port will
            pull customers away from other ports on the river and thus undermine the economic
            viability of the existing ports.”

            Applicant Response: “C.F.R. §§ 320 and 325 include language that requires a
            public interst [sic] but does not imply that USACE should pick favorites between
            State run Public Ports. However, the independent economic analyis [sic] being
            performed by the USACE Deep Draft Navigation Center does allocate future
            growth proportional between regional public ports, and does not reallocate shiping
            [sic] from ports beyond the existing Port of Wilmington container operations.”

            Corps Evaluation: The Corps agrees with DSPC’s response.

40410AR-010248.
280
      40410AR-010055.
281
      40410AR-010056.
282
      Id.
283
      Id.
284
      ECF 29-2 at 55–57.
285
      672 F. Supp. 561 (D. Mass 1987).
286
      Id. at 567–69, 575.
287
    Id. at 574; see also id. at 573 (“[D]ecisions concerning which competing constituency’s
economic interests ought to be preferred are traditionally made by democratically accountable
officials” and not by the Corps, which only has “a central role in this process because of its
expertise in matters relating to our nation’s waterways” and not economics).
288
   See, e.g., Friends of the Mahoning River v. U.S. Army Corps of Eng’rs, No. 19-2771, 2021 WL
4133763, at *6 (N.D. Ohio Sept. 9, 2021) (reversing Corps’ public interest review); Hudson, 665
F.Supp. at 450 (same); Van Abbema, 807 F.2d at 643 (same).
                                                   73
           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 74 of 76




289
      ECF 28 at 43–45.
290
      Id. at 43 n.20 (citing ECF 29-13).
291
      40410AR-000148.
292
      40410AR-004730–31.
293
   New Jersey v. U.S. Army Corps of Eng’rs, No. 09-5591, 2010 WL 2771771, at *4 (D.N.J. July
13, 2010) (citing Horizons Int’l, Inc. v. Baldrige, 811 F.2d 154, 161–62 (3d Cir. 1987) and NVE,
Inc., 436 F.3d at 195), aff’d sub nom. Del. Dep’t of Nat. Res. & Envtl. Control v. U.S. Army Corps
of Eng’rs, 685 F.3d 259 (3d Cir. 2012).
294
      408AR-007355.
295
   Bergen Cnty. v. Dole, 620 F. Supp. 1009, 1017 (D.N.J. 1985) (quoting Lloyd v. Illinois Regional
Transportation Authority, 548 F. Supp. 575, 590 (N.D. Ill. 1982)), aff’d sub nom. Appeal of Bergen
Cnty., 800 F.2d 1130 (3d Cir. 1986); State of Del. Dep’t of Nat. Res. & Envtl. Control v. U.S. Army
Corp of Eng’rs, 722 F. Supp. 2d 535, 541 (D. Del. 2010) (citing Pac. Shores Subdivision Cal.
Water Dist. v. U.S. Army Corps of Eng’rs, 448 F. Supp. 2d 1, 4 (D.D.C. 2006)) (“[T]he record
‘before the agency’ includes all documents and materials ‘directly or indirectly’ considered by
agency decision-makers.”).
296
      NVE, Inc., 436 F.3d at 190.
297
   CORPS, EC 1165-2-220 DISTRICT STANDARD OPERATING PROCEDURE PURSUANT TO 33 U.S.C.
§ 408, at 16, 408AR-0078718–817, https://www.mvs.usace.army.mil/Portals/54/EC 1165-2-
220.pdf.
298
   Id. Similarly, the Corps provides in its Process Guide it is required to obtain a written Statement
of No Objection from a non-federal sponsor to document awareness of the scope of the request
and there are no objections to the request. If a Statement of No Objection cannot be obtained, the
District/Division will not proceed with the Section 408 review unless an exception in the Guidance
is      identified.     Corps,       Section       408        Process        Guide,       Slide     3,
https://usace.contentdm.oclc.org/utils/getfile/collection/p16021coll11/id/6569.
299
   ECF 28 at 43 (citing Kleissler v. U.S. Forest Serv., 183 F.3d 196, 201 (3d Cir. 1999); Camp,
411 U.S. at 142).
300
    See Ohio v. EPA, 144 S. Ct. 2040, 2055 (2024) (“A party need not rehearse the identical
argument made before the agency; it need only confirm that the government had notice of the
challenge during the public comment period and a chance to consider in substance, if not in form,
the same objection now raised in court.”) (cleaned up).



                                                 74
          Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 75 of 76




The Philadelphia Port Authority further argues the Corps was required to obtain a statement of no
objection before it began its Section 408 review, so the Philadelphia Port Authority could not
object during the comment period because the error had already occurred.
301
      Del. Riverkeeper Network, 869 F.3d at 155.
302
   Dep’t of Transp. v. Public Citizen, 541 U.S. 752, 766 (2004) (“[T]he agency bears the primary
responsibility to ensure that it complies [with applicable law]” and the flaws in the agency’s
analysis “might be so obvious that there is no need for a commentator to point them out specifically
in order to preserve its ability to challenge a proposed action.”).
303
      40410AR-004730–31.
304
   Del. Riverkeeper Network, 869 F.3d at 156 (quoting ‘Ilio’ulaokalani Coal. v. Rumsfeld, 464
F.3d 1083, 1093 (9th Cir. 2006)).
305
      ECF 28 at 44 (citing Batterton v. Marshall, 648 F.2d 694, 702 (D.C. Cir. 1980)).
306
      408AR-007350, -7352–53, -7377.
307
   Hoosier Envtl. Council v. Nat. Prairie Indiana Farmland Holdings, 564 F. Supp. 3d 683, 707
(N.D. Ind. 2021) (“[W]hen an agency follows a procedure inconsistent with the [guidance]
manuals, an arbitrary and capricious conclusion can only be avoided if the deviation includes a
sufficient explanation why.”); Sierra Club v. Salazar, 177 F. Supp. 3d 512, 537 (D.D.C. 2016)
(agency’s “decision to disregard its own guidance is tantamount to the inconsistent treatment of
similar situations,” rendering the agency’s decision arbitrary and capricious).
308
   Hoosier, 564 F. Supp. 3d at 710 (Corps’ “[f]ailure to follow” its own guidance and policies,
“absent an explanation why, is arbitrary and capricious” (citing Bourcher v. USDA, 934 F.3d 530,
547 (7th Cir. 2021)).
309
   CORPS, EC 1165-2-220 DISTRICT STANDARD OPERATING PROCEDURE PURSUANT TO 33 U.S.C.
§ 408, at 16–17, 408AR-0078718–817, https://www.mvs.usace.army.mil/Portals/54/EC 1165-2-
220.pdf.
310
    408AR-007355 (“USACE-Philadelphia District is 100% responsible for maintaining the
Philadelphia to the Sea Project to authorized depths and reporting depths to all stakeholders along
the USACE Project.”); id. (“The Delaware River, Philadelphia to the Sea River Federal Navigation
Project is maintained at 100% Federal expense.”).
311
    The Philadelphia Port Authority is responsible for the cost of constructing dredge disposal
facilities as needed. The Philadelphia Port Authority and the Corps, in Article VII.B of the Project
Partnership Agreement, state the Corps is responsible for “all financial obligations” for the
operations and maintenance of the Delaware River Main Channel Deepening Project in the first
instance. PA0048 (Art. VIII.B). But, as the parties to the agreement detail in Article IV.B.3 of the
Project Partnership Agreement, the Philadelphia Port Authority shares financial responsibility with
                                                   75
           Case 2:23-cv-04283-MAK Document 44 Filed 10/28/24 Page 76 of 76




the Corps for both the construction and the operations and maintenance of dredge disposal facilities
on the back end. Id. at PA0042 (Art.VI.B.3).
312
      Dep’t of Homeland Security v. Regents of the Univ. of Cal., 591 U.S. 1, 20 (2020) (cleaned up).
313
   ECF 35 at 22 (citing Del. Riverkeeper Network v. Sec’y Pennsylvania Dep’t of Envtl. Prot., 833
F.3d 360, 377 (3d Cir. 2016)).
314
   We will not consider the Ports’ challenge to the Corps’ determination a Safety Assurance
Review is not required for the section 408 authorization because we conclude the Statement of No
Objection omission dispositive.




                                                  76
